Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.139 Filed 11/07/16 Page 1 of 65




                               Exhibit A
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.140 Filed 11/07/16 Page 2 of 65




                                           No. 16-4268

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT


 OHIO DEMOCRATIC PARTY,               )
                                      )
      Plaintiff-Appellee,             )
                                      )
 v.                                   )                          ORDER
                                      )
 DONALD J. TRUMP FOR PRESIDENT, INC., )
                                      )
      Defendant-Appellant             )
                                      )
 OHIO REPUBLICAN PARTY; ROGER J.      )
 STONE, JR.; STOP THE STEAL, INC.,    )
                                      )
      Defendants.                     )



         Before: BATCHELDER, ROGERS, and GRIFFIN, Circuit Judges.


         Donald J. Trump for President, Inc. moves for a stay of the district court’s temporary

 restraining order, dated November 4, 2016, enjoining Defendants Donald J. Trump for President,

 Stop the Steal and Roger J. Stone, Jr., their officers, agents, servants, and employees, and others

 not parties to this action, including groups associated with the Clinton for Presidency campaign,

 from engaging in various activities denominated by the district court as voter intimidation

 activity.

         We review for abuse of discretion the district court’s order granting a temporary

 restraining order. Ohio Republican Party v. Brunner, 543 F. 3d. 357, 361 (6th Cir. 2008). We

 review a motion to stay a temporary restraining order using the same factors that we consider in

 determining whether to grant a temporary restraining order or a preliminary injunction:
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.141 Filed 11/07/16 Page 3 of 65

                                              16-4268
                                                -2-

                (1) whether the movant has a strong likelihood of success on the merits, (2)
                whether the movant would suffer irreparable injury absent a stay, (3) whether
                granting the stay would cause substantial harm to others, and (4) whether the
                public interest would be served by granting the stay.
 Id.

        After reviewing the district court’s order, the motion for an emergency stay of that order,

 and the Plaintiff’s submission in response to the Petition for Initial En Banc Hearing, we

 conclude that the Plaintiff did not demonstrate before the district court a likelihood of success on

 the merits, and that all of the requisite factors weigh in favor of granting the stay.

        Accordingly, the motion for an emergency stay is GRANTED.




                                        ENTERED BY ORDER OF THE COURT




                                        Deborah S. Hunt, Clerk
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.142 Filed 11/07/16 Page 4 of 65




                                Exhibit B
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.143 Filed 11/07/16 Page 5 of 65



 (ORDER LIST:     580 U.S.)


                               MONDAY, NOVEMBER 7, 2016


                                   ORDER IN PENDING CASE


 16A461         OH DEMOCRATIC PARTY V. DONALD J. TRUMP FOR PRESIDENT


                      The application to vacate stay presented to Justice Kagan

                and by her referred to the Court is denied.

                      Statement of Justice Ginsburg respecting the denial of the

                application to vacate stay.

                      Mindful that Ohio law proscribes voter intimidation, see,

                e.g., Ohio Rev. Code Ann. §3501.90(A)(1) (2006) (“Harassment in

                violation of the election law” includes an “improper practice or

                attempt tending to obstruct, intimidate, or interfere with an

                elector in registering or voting at a place of registration or

                election.” (internal quotation marks omitted)), I vote to deny

                the application.
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.144 Filed 11/07/16 Page 6 of 65




                                Exhibit C
Case 2:16-cv-13924-MAG-RSW
          Case 2:16-cv-05664-PDECF No. 14-1,47
                                 Document    PageID.145   Filed Page
                                               Filed 11/07/16   11/07/16  Page 7 of 65
                                                                     1 of 16



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 PENNSYLVANIA DEMOCRATIC PARTY, :
                   Plaintiff,         :
         v.                           :                    Civ. No. 16-5664
                                      :
 REPUBLICAN PARTY OF                  :
 PENNSYLVANIA; DONALD J. TRUMP        :
 FOR PRESIDENT, INC.; ROGER J.        :
 STONE, JR.; and STOP THE STEAL INC., :
                   Defendants.        :
                                      :

 Diamond, J.                                                                      November 7, 2016

                                       MEMORANDUM

         On October 30, 2016, the Pennsylvania Democratic Party filed suit, asking me to enjoin

 the Pennsylvania Republican Party, Donald J. Trump for President, Inc., and others from

 illegally conspiring to suppress minority voting during the November 8 national election.

 Plaintiff relies upon newspaper and Internet stories, YouTube videos, unattributed reports, and

 judicial decisions—some decades old; others years, months, or weeks old. Remarkably, Plaintiff

 did not actually move for injunctive relief until Thursday, November 3, after I ordered it to do so.

 Plaintiff has not explained this delay, which has crippled Defendants’ ability to respond, made

 relief impracticable, and likely precluded appellate review of this Memorandum and Order

 before tomorrow’s election. Moreover, Plaintiff has produced no evidence of any planned voter

 intimidation in this District. Finally, insofar as Plaintiff asks me to enjoin conduct that is already

 prohibited by criminal statutes, such an injunction is impermissible.

         After considering all the Parties’ submissions and their presentations at today’s hearing, I

 conclude that because Plaintiff has not made the required “clear showing” of entitlement to the

 relief it seeks, I will deny its Motion.
Case 2:16-cv-13924-MAG-RSW
          Case 2:16-cv-05664-PDECF No. 14-1,47
                                 Document    PageID.146   Filed Page
                                               Filed 11/07/16   11/07/16  Page 8 of 65
                                                                     2 of 16



        I.      Procedural History

        Beginning on October 30, 2016, state Democratic parties have filed six identical lawsuits

 and claims for emergency injunctive relief against different state Republican parties, Donald J.

 Trump for President, Inc., Roger J. Stone, Jr., and Stop the Steal Inc., alleging imminent voter

 intimidation in violation of the Voting Rights Act of 1965 and the Civil Rights Act of 1871.

 (Doc. No. 1; see also No. 16-3752, Doc. No. 1 (D. Ariz. Oct. 31, 2016); No. 16-13924, Doc. No.

 1 (E.D. Mich. Nov. 4, 2016); No. 16-2514, Doc. No. 1 (D. Nev. Oct. 30, 2016); No. 16-1288,

 Doc. No. 1 (M.D.N.C. Nov. 4, 2016); No. 16-2645, Doc. No. 1 (N.D. Ohio Oct. 30, 2016)); 52

 U.S.C. § 10307(b); 42 U.S.C. § 1985(3).

        On October 30, Plaintiff filed its Complaint here, seeking emergency declaratory and

 injunctive relief. (Doc. No. 1 ¶¶ 6, 16, 74, 80.) Oddly, it filed no motion for emergency relief,

 nor did it seek expedited discovery. On Wednesday, November 2, when Plaintiff still had filed

 no motion, I ordered Plaintiff to do so by November 3. (Doc. No. 10.) The next day, Plaintiff

 filed its Motion for a Temporary Restraining Order and/or Preliminary Injunction, but still did

 not seek expedited discovery. (Doc. No. 14.)

        I gave Defendants only 24 hours to respond to Plaintiff’s Motion.            Accordingly, I

 received the RPP’s Response, and the RPP and Trump Campaign’s Joint Response, late on

 Friday, November 4. (Doc. Nos. 26, 41.) Over the weekend, Plaintiff filed a Reply, the Trump

 Campaign filed a sur-reply, and Plaintiff filed a sur-sur-reply. (Doc. Nos. 29, 30, 35.) The RPP

 has also moved to dismiss for failure to state a claim. (Doc. No. 31.) Plaintiff has filed proofs of

 service as to Mr. Stone and STS. (Doc. Nos. 15, 16, 33.) Counsel for Mr. Stone and STS

 appeared at today’s hearing and argued that neither Defendant had been properly served.

 Counsel also filed a legal memorandum in which Mr. Stone and STS ask me to deny injunctive


                                                  2
Case 2:16-cv-13924-MAG-RSW
          Case 2:16-cv-05664-PDECF No. 14-1,47
                                 Document    PageID.147   Filed Page
                                               Filed 11/07/16   11/07/16  Page 9 of 65
                                                                     3 of 16



 relief. (Doc. No. 42.)

        At the hearing I conducted earlier today, Plaintiff called two witnesses who, as I describe

 below, testified to little more than their dismay at Mr. Trump’s statements and a concern that

 those statements might discourage minority voters.

        The relief Plaintiff now seeks is a broad “obey-the-law” injunction. Plaintiff initially

 asked me to restrain and enjoin the RPP, the Trump Campaign, Mr. Stone, STS, “and those

 persons who are in active concert or participation with them” from:

            a. Funding, encouraging, organizing or otherwise supporting, individuals
               who are not officially appointed poll watchers under Pennsylvania law to
               be present at or around polling places or voter lines to challenge,
               investigate, interfere, or otherwise act to prevent any person from voting,
               including but not limited to confronting potential voters and verifying their
               eligibility at the polls, distributing literature (and/or stating to) individuals
               that voter fraud is a crime, or describing the penalties under any State or
               Federal statute for impermissibly casting a ballot.

            b. Monitoring polling places, or permitting, encouraging, or assisting
               individuals to monitor polling places, including but not limited to
               confronting potential voters and verifying their eligibility at the polls,
               distributing literature (and/or stating to) individuals that voter fraud is a
               crime, or describing the penalties under any State or Federal Statute for
               impermissibly casting a ballot, if the proposed monitor does not meet the
               statutory requirements for service as a poll watcher;

            c. Gathering or loitering within ten (10) feet of a polling place, or permitting,
               encouraging, or assisting any individuals to gather or loiter within ten (10)
               feet of a polling place, unless such person is one of the identified poll
               watchers for each candidate or party who may be present in a polling place
               at any time;

            d. Interrogating, interfering with, or verbally harassing voters or prospective
               voters, or training, organizing, or directing others to do the same, with the
               sole exception of questioning that is explicitly authorized by Pennsylvania
               law;

            e. Following, taking photos of, or otherwise recording voters or prospective
               voters, those assisting voters or prospective voters, or their vehicles, or
               training, organizing, or directing others to do the same;


                                                   3
Case 2:16-cv-13924-MAG-RSW    ECFDocument
          Case 2:16-cv-05664-PD   No. 14-1,47
                                            PageID.148   Filed 11/07/16
                                               Filed 11/07/16  Page 4 of Page
                                                                         16 10 of 65



             f. Recruiting, training, organizing, or deputizing any persons to question,
                voters at Pennsylvania polling locations under the guise of the purported
                “exit polling” or “citizen journalist” operations organized and encouraged
                by Defendants Stone and Stop the Steal;

             g. Otherwise organizing efforts to engage in voter intimidation.

  (Doc. No. 14-1.)

         At 1:59 a.m. this morning, Plaintiff filed an Amended Proposed Order, asking me

  to restrain and enjoin Defendants from:

             a. Blocking the entrance to the polling place;

             b. Asking voters for documentation when none is required;

             c. Disrupting voting lines inside and outside of the polling place;

             d. Disseminating false or misleading election information;

             e. Ostentatious showing of weapons at a polling place;

             f. Photographing or videotaping voters to intimate [sic] them;

             g. Frivolous challenges to voters that are made without a stated good faith
                basis;

             h. Verbal or physical confrontation of voters by persons dressed in
                official-looking uniforms;

             i. Violence or using the threat of violence to interfere with a person’s right
                to vote.

  (Doc. No. 34.) Plaintiff also asks me to order Stone and STS to abide by and distribute

  guidelines that those Defendants have purportedly proposed. (See id. at 2.)

         On November 4, the Ohio District Court granted what appeared to be a nationwide

  injunction prohibiting Defendants Trump Campaign, Mr. Stone, STS, as well as other non-party

  “individuals or groups, including groups associated with the Clinton for Presidency [sic]

  campaign,” from violating the law. (Doc. No. 30-4.) But see Perez v. Ohio Bell Tel. Co., No.

  15-3303, 2016 WL 3755795, at *6 (6th Cir. July 14, 2016) (“The Supreme Court has warned
                                                  4
Case 2:16-cv-13924-MAG-RSW    ECFDocument
          Case 2:16-cv-05664-PD   No. 14-1,47
                                            PageID.149   Filed 11/07/16
                                               Filed 11/07/16  Page 5 of Page
                                                                         16 11 of 65



  against ‘sweeping injunction[s] to obey the law’ and has cautioned courts about their ‘duty to

  avoid’ such orders.” (quoting Swift & Co. v. United States, 196 U.S. 375, 401 (1905))).

  Yesterday, the Sixth Circuit stayed the injunction, finding that the District Court had abused its

  discretion because the plaintiff (the Ohio Democratic Party) had not demonstrated it was likely to

  succeed on the merits of its suit. (Doc. No. 30-5.)

         On the same day the Ohio Court issued its injunction, the Arizona District Court denied

  all relief. (Doc. No. 30-3.) The Nevada District Court denied relief against Trump and the state

  Republicans, deferring a ruling on Mr. Stone and STS pending a hearing to be held this

  afternoon. (Doc. No. 30-2.)

         Today, the Middle District of North Carolina held oral argument in the suit there. (See

  No. 16-1288, Doc. No. 7 (M.D.N.C. Nov. 5, 2016).) As of this writing, there has been no

  substantive activity in the Michigan case. (See No. 16-13924 (E.D. Mich.).)

         Finally, sometime yesterday, Plaintiff subpoenaed RPP Chairman Rob Gleason—who

  resides some 240 miles away in Johnstown—to appear at the hearing this morning (the day

  before Election Day) and bring with him, inter alia, all Republican Party documents relating to

  its poll watching activities. Because the subpoena is vexatious and abusive, I granted the RPP’s

  Motion to Quash earlier this morning. (See Doc. Nos. 32, 38.)

         II.     Standing

         Plaintiff alleges that it is “a state party organization affiliated with the [National]

  Democratic Party,” and that it “works ‘to elect Democrats from the top of the ticket on down’ in

  local, county, state, and federal elections.” (Doc. No. 1 ¶ 7 (citation omitted).) Defendants do

  not dispute that Plaintiff has standing to bring the instant suit, which is intended to protect the

  interests of both Democratic candidates running for office and Democratic voters. (Id. ¶ 14.) I


                                                   5
Case 2:16-cv-13924-MAG-RSW    ECFDocument
          Case 2:16-cv-05664-PD   No. 14-1,47
                                            PageID.150   Filed 11/07/16
                                               Filed 11/07/16  Page 6 of Page
                                                                         16 12 of 65



  agree that Plaintiff has standing to proceed. See Lujan v. Defenders of Wildlife, 504 U.S. 555,

  560-61 (1992); Friends of the Earth, Inc. v. Laidlaw Envt’l Servs. (TOC), Inc., 528 U.S. 167, 180

  (2000); Warth v. Seldin, 422 U.S. 490, 511 (1975); Constitution Party of Pa. v. Aichele, 757

  F.3d 347, 368 (3d Cir. 2014).

         III.    Legal Standards

                 A. Preliminary Injunction

          Rule 65 authorizes me to issue the injunctive relief Plaintiff seeks. See Fed. R. Civ. P.

  65(a). “[A] preliminary injunction is an extraordinary and drastic remedy, one that should not be

  granted unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v.

  Armstrong, 520 U.S. 968, 972 (1997) (quoting 11A Wright & Miller, Fed. Prac. & Proc. § 2948

  (3d ed. Apr. 2016)). “A plaintiff seeking a preliminary injunction must establish that he is likely

  to succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary

  relief, that the balance of equities tips in his favor, and that an injunction is in the public

  interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008) (citations omitted).

  The moving party bears the “heavy burden” of showing that these elements weigh in favor of a

  preliminary injunction. Republican Party of Pa. v. Cortés, No. 16-5524, 2016 WL 6525409, at

  *4 (E.D. Pa. Nov. 3, 2016) (citing Ferring Pharms., Inc. v. Watson Pharms., Inc., 765 F.3d 205,

  210 (3d Cir. 2014), and Punnett v. Carter, 621 F.2d 578, 588 (3d Cir. 1980)).

                 B. Voting Rights Act of 1965

         Section 11(b) of this Act, as amended and codified, provides that “[n]o person, whether

  acting under color of law or otherwise, shall intimidate, threaten, or coerce, or attempt to

  intimidate, threaten, or coerce any person for voting or attempting to vote.”            52 U.S.C.

  § 10307(b); see also 28 U.S.C. § 1343(a)(4) (providing private cause of action “under any Act of

                                                   6
Case 2:16-cv-13924-MAG-RSW    ECFDocument
          Case 2:16-cv-05664-PD   No. 14-1,47
                                            PageID.151   Filed 11/07/16
                                               Filed 11/07/16  Page 7 of Page
                                                                         16 13 of 65



  Congress providing for the protection of civil rights, including the right to vote”).

                 C. Civil Rights Act of 1871

         This Act, as amended and codified, provides that

         if two or more persons conspire to prevent by force, intimidation, or threat, any
         citizen who is lawfully entitled to vote, from giving his support or advocacy in a
         legal manner, toward or in favor of the election of any lawfully qualified person
         as an elector for President or Vice President, or as a Member of Congress of the
         United States . . . the party so injured or deprived may have an action for the
         recovery of damages occasioned by such injury or deprivation, against any one or
         more of the conspirators.

  42 U.S.C. § 1985(3).

         IV.     Discussion

          As Judge Pappert recently stated in rejecting the RPP’s belated request for Election Day

  injunctive relief: “There was no need for this judicial fire drill and Plaintiff[] offer[s] no

  reasonable explanation or justification for the harried process [it] created.” Cortés, 2016 WL

  6525409, at *4. The same situation obtains here. Plaintiff has not explained what it learned in

  the last month or even the last week that created emergent conditions. On the contrary, Plaintiff

  has long known of the acts and statements on which it bases its claims. For instance, Plaintiff

  emphasizes an inapposite 2004 Complaint and TRO filed against Senator John Thune, seeking to

  enforce the District of New Jersey’s 1982 and 1987 Consent Orders. (Doc. Nos. 14-21, 14-23.)

  Plaintiff also points to purported voter intimidation by the Republican mayoral candidate during

  Philadelphia’s 2003 election. (Doc. No. 14-19 at 7-8.) Plaintiff also offers comments ostensibly

  made by Mr. Trump going back to early August. (See, e.g., Doc. Nos. 14-9, 14-12).

         During today’s hearing, I repeatedly asked Plaintiff to explain its dilatory conduct and to

  identify any recent occurrence that compelled it to seek emergency relief so close to Election

  Day. Plaintiff was unable to do so. Significantly, Plaintiff has not alleged that Defendants have


                                                    7
Case 2:16-cv-13924-MAG-RSW    ECFDocument
          Case 2:16-cv-05664-PD   No. 14-1,47
                                            PageID.152   Filed 11/07/16
                                               Filed 11/07/16  Page 8 of Page
                                                                         16 14 of 65



  intimidated voters in the four states that allow early voting—Arizona, Nevada, North Carolina,

  and Ohio—where suits identical to the instant suit have been filed. Plaintiff has not explained

  why it filed its Emergency Motion only two business days before the election—again, only after

  I ordered it to do so. (See Doc. No. 10.) Nor has Plaintiff explained why it failed to seek

  expedited discovery, opting yesterday instead to subpoena Mr. Gleason and a cache of

  documents. Remarkably, during today’s hearing, Plaintiff stated that it had not sought expedited

  discovery because it believed that Defendants would voluntarily produce all discoverable

  materials without being formally asked to do so.

           Plaintiff’s dilatory conduct “weighs decidedly against granting the extraordinary relief

  [it] seek[s]”—especially “where, as here, an election is looming.” Cortés, 2016 WL 6525409, at

  *3 (citing United States v. City of Phila., No. 06-4592, 2006 WL 3922115, at *2 (E.D. Pa. Nov.

  7, 2006) (citing in turn Purcell v. Gonzalez, 549 U.S. 1 (2006))); see also Crookston v. Johnson,

  No. 16-2490, 2016 WL 6311623, at *2 (6th Cir. Oct. 28, 2016) (“Call it what you will—laches,

  the Purcell principle, or common sense—the idea is that courts will not disrupt imminent

  elections absent a powerful reason for doing so.”). The election will be underway in a matter of

  hours.

           Plaintiff’s failure to take discovery has compelled it to rely almost entirely on media

  reports.   Because the Federal Rules of Evidence do not strictly apply during preliminary

  injunction proceedings, I must exercise discretion in “weighing all the attendant factors,

  including the need for expedition, to assess whether, and to what extent, affidavits or other

  hearsay materials are appropriate given the character and objectives of the injunctive

  proceeding.” Kos Pharms., Inc. v. Andrx Corp., 369 F.3d 700, 719 (3d Cir. 2004) (internal

  quotation marks and citation omitted).


                                                  8
Case 2:16-cv-13924-MAG-RSW    ECFDocument
          Case 2:16-cv-05664-PD   No. 14-1,47
                                            PageID.153   Filed 11/07/16
                                               Filed 11/07/16  Page 9 of Page
                                                                         16 15 of 65



         The plaintiff seeking an injunction will typically support her request with an affidavit,

  verifying that the facts alleged are true and correct according to her best information, knowledge,

  and belief. See Fed. R. Civ. P. 65(b)(1)(A) (requiring “specific facts in an affidavit or a verified

  complaint [that] clearly show that immediate and irreparable injury, loss, or damage will result to

  the movant” for TRO); 11A Wright & Miller, Fed. Prac. & Proc. § 2949 (3d ed. Apr. 2016)

  (“Affidavits are appropriate on a preliminary-injunction motion and typically will be offered by

  both parties. . . . All affidavits should state the facts supporting the litigant’s position clearly and

  specifically.” (footnote omitted)).

         Plaintiff has produced its evidence in an Appendix comprising online newspaper articles

  and other reports and statements—almost all having nothing to do with this District. (See Doc.

  Nos. 14-6, 14-7, 14-9, 14-11, 14-12, 14-13, 14-14, 14-15, 14-16, 14-17, 14-18, 14-19, 14-20,

  14-22, 14-24, 14-25, 14-27.) The Appendix is “verified” by one of Plaintiff’s lawyers, who

  avers only that the exhibits are accurate copies. (See Doc. No. 14-3.) He says nothing about the

  truth of their content. (See id.)

         I am thus compelled to base a ruling that could restrict Defendants’ Election Day speech

  and conduct on media reports because Plaintiff has contrived to transform this litigation into a

  mad scramble. Although I could deny relief on this ground alone, given the importance of the

  voting rights Plaintiff alleges are threatened, I will consider all the Winter factors. See Cortés,

  2016 WL 6525409, at *1 (citing unreasonable delay as a basis for denying injunctive relief);

  Smart Vent Prods., Inc. v. Crawl Space Door Sys., Inc., No. 13-5691, 2016 WL 4408818, at *12

  (D.N.J. Aug. 16, 2016) (delay “knocks the bottom out of any claim of immediate and irreparable

  harm”).




                                                     9
Case 2:16-cv-13924-MAG-RSW
          Case 2:16-cv-05664-PDECF No. 14-1,47
                                 Document    PageID.154   Filed Page
                                               Filed 11/07/16   11/07/16
                                                                     10 ofPage
                                                                           16 16 of 65



                 A. Likelihood of Success on the Merits

         To make out this factor, “the plaintiff need only prove a prima facie case, not a certainty

  that he or she will win.” Highmark, Inc. v. UPMC Health Plan, Inc., 276 F.3d 160, 173 (3d Cir.

  2001). The Third Circuit has held that “a sufficient degree of success for a strong showing exists

  if there is a ‘reasonable chance, or probability, of winning.’” In re Revel AC, Inc., 802 F.3d 558,

  568-69 (3d Cir. 2015) (quoting Singer Mgmt. Consultants, Inc. v. Milgram, 650 F.3d 223, 229

  (3d Cir. 2011) (en banc)). Plaintiff alleges that the Trump Campaign, Mr. Stone, STS, and the

  RPP “are conspiring to threaten, intimidate, and thereby prevent minority voters in urban

  neighborhoods from voting in the 2016 election.” (Doc. No. 14-2 at 2.) Like the Arizona and

  Ohio Democratic Parties, Plaintiff here has not made the requisite “clear showing” that it will

  prevail on the merits of its claims.

         To succeed on its Voting Rights Act claim, Plaintiff must show that Defendants acted or

  attempted “to intimidate, threaten, or coerce any person for voting or attempting to vote.” 52

  U.S.C. § 10307(b).      To succeed on its Civil Rights Act claim, Plaintiff must show that

  Defendants conspired to do so. 42 U.S.C. § 1985(3). Plaintiff has not demonstrated a likelihood

  of succeeding on either claim.

         Plaintiff relies heavily on Defendants’ alleged statements as reported in online newspaper

  articles. These statements were made in connection with the upcoming election. See Citizens

  United v. Fed. Election Comm’n, 558 U.S. 310, 339 (2010) (“Speech is an essential mechanism

  of democracy . . . . The First Amendment has its fullest and most urgent application to speech

  uttered during a campaign for political office.” (internal quotation marks and citations omitted)).

  Once again, virtually none of the statements was made in this District or suggested that any

  illegal activity would occur in this District. Moreover, as the Arizona District Court found, some


                                                  10
Case 2:16-cv-13924-MAG-RSW
          Case 2:16-cv-05664-PDECF No. 14-1,47
                                 Document    PageID.155   Filed Page
                                               Filed 11/07/16   11/07/16
                                                                     11 ofPage
                                                                           16 17 of 65



  of these statements are taken grossly out of context. (Doc. No. 30-3 at 16.) The same is true

  here. For example, Plaintiff opens its brief with the following claim:

         The stated goal of the Trump Campaign, as explained by an unnamed official to
         Bloomberg News on October 27, 2016, is to depress voter turnout, and
         particularly minority voter turnout—in the official’s words: “We have three
         major voter suppression operations under way.”

  (Doc. No. 14-2 at 2 (quoting Doc. No. 14-11).) Plaintiff thus suggests that these “major voter

  suppression operations” are targeted at intimidating minority voters. In context, however, it is

  clear that the “unnamed official” is plainly describing protected political activity:

         “We have three major voter suppression operations under way,” says a senior
         official. They’re aimed at three groups Clinton needs to win overwhelmingly:
         idealistic white liberals, young women, and African Americans. Trump’s
         invocation at the debate of Clinton’s WikiLeaks e-mails and support for the
         Trans-Pacific Partnership was designed to turn off Sanders supporters. The
         parade of women who say they were sexually assaulted by Bill Clinton or
         harassed or threatened by Hillary is meant to undermine her appeal to young
         women. And her 1996 suggestion that some African American males are “super
         predators” is the basis of a below-the-radar effort to discourage infrequent black
         voters from showing up at the polls—particularly in Florida.

  (Doc. No. 14-11 at 6-7.) In context, these are not “suppression” efforts at all, and they do not

  appear designed to threaten or intimidate voters. Rather, they are coarse efforts to convince

  Secretary Clinton’s likely supporters not to vote for her.

         Plaintiff also points to the Trump Campaign’s “signup form on its website for supporters

  to sign up to be ‘Trump Election Observers’ in order to stop ‘Crooked Hillary From Rigging this

  Election.’” (Doc. No. 14-2 at 4 (quoting Doc. No. 14-5).) Plaintiff thus alleges that Mr. Trump

  is “further encouraging his supporters to join in a common plan to ‘watch’ voters in ‘certain

  areas’ of states like Pennsylvania for voter fraud.” (Id.) Yet, Pennsylvania law allows poll

  watching, and Plaintiff has not shown that the poll watching proposed here will include any

  impermissible activity. See Cortés, 2016 WL 6525409, at *1-2 (describing the Pennsylvania


                                                   11
Case 2:16-cv-13924-MAG-RSW
          Case 2:16-cv-05664-PDECF No. 14-1,47
                                 Document    PageID.156   Filed Page
                                               Filed 11/07/16   11/07/16
                                                                     12 ofPage
                                                                           16 18 of 65



  Election Code’s poll-watching provisions (citing 25 P.S. § 2687)). Indeed, Defendants point out

  that the Clinton campaign is engaged in the same exercise. (Doc. No. 41 at 11); see Join Victory

  Counsel, HillaryClinton.com, https://www.hillaryclinton.com/forms/protect-the-vote (“Volunteer

  to protect the vote as a poll observer this election cycle.”) (last visited Nov. 7, 2016).

         To show the “conspiracy” between Defendants RPP and Trump Campaign, Plaintiff

  offers an August 3, 2016 statement purportedly made by Governor Pence at a town hall event:

  “[T]he Trump campaign and the Republican National Committee are working very, very closely

  with state governments and secretaries of states all over the country to ensure ballot integrity.”

  (Doc. No. 14-2 at 10 (quoting 8-3 Replay: Pence Denver Rally Town Hall at 16:22-17:27,

  TrumpTube.tv,       http://trumptube.tv/donald-trump-rally-speech-video/video/pence-live-stream-

  town-hall-8-3-16).) Similarly, Plaintiff offers RPP Chairman Gleason’s early-August statement

  to the Washington Post that he was “glad to hear” that Mr. Trump was becoming focused on

  voter fraud and “taking additional measures to recruit poll watchers in Philadelphia,” as well as

  the RPP’s now-unsuccessful effort to invalidate restrictions on Pennsylvania poll watchers.

  (Doc. No. 14-2 at 10-11 (citing Doc No. 14-9 and Complaint, Cortés, No. 16-5524, Doc. No. 1

  (E.D. Pa. Oct. 21, 2016).) Assuming these purported statements accurately reflect actions that

  have actually been taken, no voter intimidation is even suggested. Once again, the Pennsylvania

  Election Code explicitly allows candidates and political parties to appoint poll watchers who

  “help ‘guard the integrity of the vote.’” See Cortés, 2016 WL 6525409, at *1-2 (quoting Tiryak

  v. Jordan, 472 F. Supp. 822, 824 (E.D. Pa. 1979)); 25 P.S. § 2687.

         As to Mr. Stone and STS, Plaintiff alleges that they “are actively recruiting Trump

  supporters for ‘exit polling,’ specifically targeting nine Democratic-leaning cities with large

  minority populations, including Philadelphia.” (Doc. No. 14-2 at 6 (citing Doc. No. 14-6).) Mr.


                                                    12
Case 2:16-cv-13924-MAG-RSW
          Case 2:16-cv-05664-PDECF No. 14-1,47
                                 Document    PageID.157   Filed Page
                                               Filed 11/07/16   11/07/16
                                                                     13 ofPage
                                                                           16 19 of 65



  Stone and STS have purportedly signed up 2822 volunteers to engage in “exit polling,” including

  150 volunteers in Pennsylvania. (Id.)       Yet, it is not clear that STS is even operational. See

  Robert Kuniegel, Where Is the Training for Exit Polls[?], Stop the Steal (Oct. 29, 2016),

  https://stopthesteal.org/where-is-the-training-for-exit-polls (“I have no idea where this post is

  going or if anyone will see it. I suspect that no one will. I have 10 people that wish to do exit

  polling in Philly and have tried for one month to find a way to get assigned and or trained.”). In

  any event, “the act of exit polling . . . constitute[s] protected expressive speech” under the First

  Amendment. See PG Pub. Co. v. Aichele, 705 F.3d 91, 100-01 (3d Cir. 2013) (citing Daily

  Herald Co. v. Munro, 838 F.2d 380, 382 (9th Cir. 1988)); see also Daily Herald Co., 838 F.2d at

  384 (“[E]xit polling constitutes speech protected by the First Amendment, not only in that the

  information disseminated based on the polls is speech, but also in that the process of obtaining

  the information requires a discussion between pollster and voter.”). As the Arizona District

  Court concluded, exit polling is permissible even if it is not “scientific” and those conducting it

  are not professional pollsters. (See Doc. No. 30-3 at 19.)

         Finally, Plaintiff alleges that the conspiracy to intimidate minority voters “reaches

  beyond the defendants,” discussing at length the activities of “white nationalist, alt-right, and

  militia movement groups” that have been “[e]nergized by Trump’s candidacy.” (See Doc. No.

  14-2 at 11-12 (citing Doc. No. 14-25).) Unless it is psychic, Plaintiff has no idea who might

  have been “energized by” Mr. Trump. Plaintiff’s heated suggestion does not even rise to the

  level of speculation.

         In sum, Plaintiff has not shown that any Defendant has engaged or will engage in voter

  intimidation in this District, an essential element of both of Plaintiff’s claims. Plaintiff has thus

  failed to demonstrate that it is likely to succeed on the merits of either claim.


                                                    13
Case 2:16-cv-13924-MAG-RSW
          Case 2:16-cv-05664-PDECF No. 14-1,47
                                 Document    PageID.158   Filed Page
                                               Filed 11/07/16   11/07/16
                                                                     14 ofPage
                                                                           16 20 of 65



                  B. Likelihood of Irreparable Harm

          I agree with Plaintiff that a violation of voting rights would work an irreparable harm for

  which there is no adequate remedy at law. See Council of Alt. Political Parties v. Hooks, 121

  F.3d 876, 883 (3d Cir. 1997) (infringement on voting rights “cannot be alleviated after the

  election”). I also agree with Plaintiff that given this nation’s troubled history, the federal courts

  must take special care to protect the voting rights of minority communities. As I have discussed,

  however, Plaintiff has not made out even the possibility—much less the likelihood—that

  Defendants will intimidate any voters in this District.

          During today’s hearing, Plaintiff called Reverend Mark Kelly Tyler of Mother Bethel

  A.M.E. Church and former Philadelphia Councilman Angel L. Ortiz. Neither witness knew of

  any actual voter intimidation efforts or of any voters who had actually been intimidated. Rather,

  both were concerned that Mr. Trump’s statements “might” or “could” intimidate

  African-American or Latino voters. This is not proof of the likelihood of harm. See ECRI v.

  McGraw-Hill, Inc., 809 F.2d 223, 226 (3d Cir. 1987) (“Establishing a risk of irreparable harm is

  not enough. A plaintiff has the burden of proving a ‘clear showing of immediate irreparable

  injury.’” (citation omitted)).

                  C. Balance of Equities and the Public Interest

          Because these factors are intertwined, I consider them together. To prevent unproven

  voter intimidation, Plaintiff asks me to curtail Defendants’ right to free expression and speech.

  U.S. Const., amend. I; Citizens United, 558 U.S. at 326-27 (“Courts, too, are bound by the First

  Amendment . . . [and] must give the benefit of any doubt to protecting rather than stifling

  speech.” (internal quotation marks and citation omitted)); id. at 340 (“[P]olitical speech must

  prevail against laws that would suppress it, whether by design or inadvertence.”). Yet, virtually


                                                   14
Case 2:16-cv-13924-MAG-RSW
          Case 2:16-cv-05664-PDECF No. 14-1,47
                                 Document    PageID.159   Filed Page
                                               Filed 11/07/16   11/07/16
                                                                     15 ofPage
                                                                           16 21 of 65



  all the minatory acts Plaintiff asks me to enjoin are already proscribed by criminal statutes,

  subject to severe punishment. See, e.g., 18 U.S.C. § 594 (actual or attempted intimidation,

  threats, or coercion in federal elections punishable by up to one year’s imprisonment and a fine);

  25 P.S. §§ 3527 (interference with election officials, blocking the entrance of a polling place,

  voter intimidation, various acts of voter fraud, and conspiracy punishable by up to seven years’

  imprisonment and a $15,000 fine), 3528 (voter intimidation at a polling place at which one is not

  entitled to vote punishable by up to seven years’ imprisonment and a $15,000 fine), 3547 (use or

  threat of force or duress punishable by up to two years’ imprisonment and a $5000 fine), 3552

  (punishing any person convicted of willfully violating the Election Code with four years’

  disenfranchisement). Moreover, any coordinated efforts (much less a “conspiracy”) between the

  Trump Campaign and STS would violate federal election law.                 See, e.g., 52 U.S.C.

  § 30116(a)(7); 26 U.S.C. § 527.

         The Supreme Court has long cautioned courts about their “duty to avoid” issuing

  “sweeping injunction[s] to obey the law.” Swift & Co., 196 U.S. at 401; see also Belitskus v.

  Pizzingrilli, 343 F.3d 632, 650 (3d Cir. 2003) (injunction impermissibly “require[d] defendants

  ‘to obey the law’ in the future . . . a requirement with which they must comply regardless of the

  injunction” (quoting SEC v. Warren, 583 F.2d 115, 121 (3d Cir. 1978))). That admonition is

  especially apposite here, where the broad injunction Plaintiff seeks would itself curtail the

  constitutional rights of Defendants. For instance, Plaintiff asks me to enjoin Defendants from

  “disseminating false or misleading election information.” (Doc. No. 34.) Virtually all “election

  information” could be deemed “false” or “misleading,” depending on the beholder. The broad

  prohibition Plaintiff seeks could thus effectively silence Defendants’ political speech on Election

  Day.


                                                  15
Case 2:16-cv-13924-MAG-RSW
          Case 2:16-cv-05664-PDECF No. 14-1,47
                                 Document    PageID.160   Filed Page
                                               Filed 11/07/16   11/07/16
                                                                     16 ofPage
                                                                           16 22 of 65



         In these circumstances, the balance of equities and public interest factors weigh against

  the issuance of a preliminary injunction.

         V.      Conclusion

         Our Republic is premised on the right of its citizens to select their leaders. Had Plaintiff

  made any credible showing—much less the required clear showing—that Defendants intended to

  jeopardize that right, I would not hesitate to take immediate action. Plaintiff has made no such

  showing, however. Its belated, inflammatory allegations appear intended to generate only heat,

  not light. Presumably, that is why identical efforts have so far been rejected by the Arizona and

  Nevada District Courts and the Sixth Circuit. I will also deny Plaintiff’s eleventh-hour request

  for emergency injunctive relief.

         An appropriate Order follows.

                                                              /s/ Paul S. Diamond
                                                              ______________________
                                                              Paul S. Diamond, J.




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Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.161 Filed 11/07/16 Page 23 of 65




                                Exhibit D
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.162 Filed 11/07/16 Page 24 of 65

                                                                                   1
                                    2:16-cv-2415-RFB-NJK


      1                        UNITED STATES DISTRICT COURT

      2                              DISTRICT OF NEVADA

      3

      4 NEVADA STATE DEMOCRATIC             )
        PARTY,                              )   Case No. 2:16-cv-2415-RFB-NJK
      5                                     )
                      Plaintiff,            )   Las Vegas, Nevada
      6                                     )   Friday, November 4, 2016
               vs.                          )   3:00 p.m.
      7                                     )
        NEVADA REPUBLICAN PARTY,            )   EXCERPT OF MOTION HEARING
      8 DONALD J. TRUMP FOR                 )   (RULING)
        PRESIDENT, INC., ROGER J.           )
      9 STONE, JR., and STOP THE
        STEAL, INC.,
     10
                      Defendants.
     11

     12

     13

     14
                         REPORTER'S TRANSCRIPT OF PROCEEDINGS
     15
                         THE HONORABLE RICHARD F. BOULWARE, II,
     16                       UNITED STATES DISTRICT JUDGE

     17

     18

     19 APPEARANCES:                See the next page

     20

     21 COURT REPORTER:              Patricia L. Ganci, RMR, CRR
                                     United States District Court
     22                              333 Las Vegas Boulevard South, Room 1334
                                     Las Vegas, Nevada 89101
     23
        Proceedings reported by machine shorthand, transcript produced
     24 by computer-aided transcription.
     25


                     PATRICIA L. GANCI, RMR, CRR         (702) 385-0670
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.163 Filed 11/07/16 Page 25 of 65

                                                                                   2
                                    2:16-cv-2415-RFB-NJK


      1 APPEARANCES:

      2 For the Plaintiff:
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               (702)341-5200
      5
               MICHAEL JULIAN GOTTLIEB, ESQ.
      6        BOIES, SCHILLER & FLEXNER, LLP
               5301 Wisconsin Ave., Suite 800
      7        Washington, DC 20015
               (202)237-9617
      8

      9 For Defendants Nevada Republican Party and Donald J. Trump for
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     10        BRIAN R. HARDY, ESQ.
               MARQUIS AURBACH COFFING
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               Las Vegas, Nevada 89145
     12        (702)382-0711

     13          KORY LANGHOFER, ESQ.
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     14          649 North Fourth Avenue, Suite B
                 Phoenix, Arizona 85003
     15          (602)382-4078

     16
        For Defendants Roger J. Stone, Jr. and Stop the Steal, Inc.:
     17        ADAM ROSS FULTON, ESQ.
               JENNINGS & FULTON, LTD.
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               Las Vegas, Nevada 89146
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     20          PAUL ROLF JENSEN, ESQ.
                 JENSEN & ASSOCIATES, APC
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     22          (714)662-5528
     23

     24

     25


                     PATRICIA L. GANCI, RMR, CRR         (702) 385-0670
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.164 Filed 11/07/16 Page 26 of 65

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                                    2:16-cv-2415-RFB-NJK


      1        LAS VEGAS, NEVADA; FRIDAY, NOVEMBER 4, 2016; 3:00 P.M.

      2                                    --oOo--

      3                            P R O C E E D I N G S

      4

      5             THE COURT:    Okay.   So at this point in time the Court

      6 is going to deny the motion for a Temporary Restraining

      7 Order/Preliminary Injunction without prejudice as to the Nevada

      8 Republican Party and the Donald J. Trump Campaign.            After

      9 reviewing the record in the case, the Court does not find that

     10 the plaintiffs have met their burden to be entitled to the

     11 injunctive relief that they seek.         After reviewing the record

     12 and testimony in the case, the Court preliminarily makes the

     13 following findings.

     14             The Court does not find that the Nevada Republican

     15 Party has been or plans to be engaged in poll watching or

     16 observing in this election cycle.         The Court finds that the

     17 Nevada Republican Party has provided space for the Trump

     18 Campaign and is aware of the campaign's poll watching program,

     19 but that the Nevada Republican Party is not engaged in any

     20 substantial coordinating or organizing activities regarding the

     21 campaign's poll watching activities.

     22             The Court finds that there is no evidence in the record

     23 that the Nevada Republican Party is engaging in any activities

     24 regarding exit polling.

     25             The Court finds that the Trump Campaign does have an


                     PATRICIA L. GANCI, RMR, CRR         (702) 385-0670
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.165 Filed 11/07/16 Page 27 of 65

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                                    2:16-cv-2415-RFB-NJK


      1 active and current program involving poll watching, that it

      2 began training poll watchers around October 24, 2016, and that

      3 it compiled a list of names of volunteers from its website and

      4 other direct inquiries to create a list of poll watchers.

      5             The Trump Campaign's poll watching program in Nevada is

      6 overseen by Jesse Law, a former employee of the Nevada

      7 Republican Party, who has no current responsibilities with or

      8 for the Nevada Republican Party.         To date, Mr. Law has conducted

      9 or participated in all of the polling training for all of the

     10 campaign's poll watcher volunteers, and there have been

     11 approximately a dozen training sessions and between 100 and 400

     12 watchers trained.

     13             For this training, Mr. Law received from the campaign's

     14 national headquarters a PowerPoint slide presentation for

     15 training and a poll watcher's guide.          The guide is handed out to

     16 all potential poll watchers.        The PowerPoint is used for the

     17 required in-person training to become a poll observer.

     18             The initial PowerPoint-guided training sessions were

     19 deficient and incomplete with respect to voter challenges.

     20 While it does not appear that Mr. Law intentionally left out

     21 information, the sessions had significant informational gaps.

     22 Specifically, the initial training did not fully explain and

     23 emphasize the requirements for asserting a voter challenge,

     24 including that the challengers must have personal knowledge of

     25 the facts that form the basis of the challenge, that the


                     PATRICIA L. GANCI, RMR, CRR         (702) 385-0670
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.166 Filed 11/07/16 Page 28 of 65

                                                                                   5
                                    2:16-cv-2415-RFB-NJK


      1 challenger would have to attest to such facts under penalty of

      2 perjury, or that there could be civil or criminal penalties

      3 regarding improper or false challenges.

      4             However, on November 3rd in the morning the campaign

      5 through Mr. Law sent out an e-mail to poll watchers addressing

      6 these deficiencies in the initial poll training.            This e-mail

      7 fully explained the requirements for voter challenges and

      8 possible consequences for improper or false challenges.             It

      9 emphasized that challenges were generally not likely and not

     10 encouraged by the campaign.        It required poll watchers to

     11 contact the campaign before initiating any challenge, and the

     12 e-mail was, in fact, more restrictive than the legal

     13 requirements themselves.

     14             With respect to polling incidents at poll locations,

     15 there is evidence of individuals who may have identified

     16 themselves as Trump supporters improperly disrupting and

     17 intimidating voters on one or two occasions in Las Vegas voting

     18 locations.     There is, however, insufficient evidence or no

     19 direct evidence linking these incidents to the campaign.             There

     20 is no evidence or sufficient evidence in the record that the

     21 campaign coordinated or directed any disruption of early voting

     22 and no sufficient evidence that it intends to do so on Election

     23 Day.

     24             There is no evidence at all linking these incidents or

     25 any other incidents to the Nevada Republican Party.            The Court


                     PATRICIA L. GANCI, RMR, CRR         (702) 385-0670
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.167 Filed 11/07/16 Page 29 of 65

                                                                                   6
                                    2:16-cv-2415-RFB-NJK


      1 has no basis for finding that these alleged incidents were

      2 anything other than improper or unlawful acts carried out by

      3 individuals potentially acting on their own.

      4             There is no record of any voter challenges having been

      5 made by the Nevada Republican Party or the campaign.             And there

      6 is no evidence of improper voter challenges having been made --

      7 any improper voter challenges having been made by the Nevada

      8 Republican Party or the campaign.

      9             Based upon these findings, the Court finds that there

     10 is not a likelihood of success on the merits with respect to the

     11 plaintiff's claim.       While the Court might have found that the

     12 initial deficient poll watcher training combined with various

     13 political statements might have led to circumstances in which

     14 campaign poll watchers could have improperly challenged voters

     15 leading to possible voter intimidation, the Court finds that the

     16 e-mails sent by the campaign on November 3rd addressed any

     17 issues or confusion that were created by the initial deficient

     18 poll training.      Also, there is no evidence of voters having been

     19 improperly challenged by campaign poll observers.

     20             There is an insufficient factual basis for the

     21 finding -- excuse me.       There is an insufficient factual basis

     22 for finding that the two alleged incidents of voters being

     23 harassed or intimidated resulted from campaign activities or

     24 directions such that it would warrant the injunctive relief

     25 sought by the plaintiffs.


                     PATRICIA L. GANCI, RMR, CRR         (702) 385-0670
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.168 Filed 11/07/16 Page 30 of 65

                                                                                   7
                                    2:16-cv-2415-RFB-NJK


      1             There is no likelihood of success on the merits

      2 regarding the Nevada Republican Party.          There is no evidence of

      3 poll watching activity by the Nevada Republican Party.             There is

      4 no evidence of voting challenges by the Nevada Republican Party,

      5 and no connection between any alleged incidents of voter

      6 intimidation and the Nevada Republican Party.           Therefore, there

      7 would be no likelihood of success on the merits at this time as

      8 it relates to the Nevada Republican Party.

      9             Given the Court's finding, the Court does not find that

     10 there would be irreparable harm as the defendants, specifically

     11 the Nevada Republican Party and the Donald J. Trump Campaign,

     12 are not involved as explained in activities that constitute

     13 voter intimidation or coercion.         However, given the energy and

     14 emotion around this election cycle, the Court remains concerned

     15 about the possibility of voting disruptions without attributing

     16 this possibility to any particular entity or party.

     17             Therefore, the Court will set a hearing for Tuesday at

     18 2:30 to address any new issues raised by parties in any filing

     19 done by Tuesday at 1 p.m.        If no such filing occurs, the Court

     20 will vacate the hearing at that time.

     21             This lays out the Court 's reasoning for denying

     22 without prejudice the motion for a Preliminary Injunction and

     23 Temporary Restraining Order.        Does either party have any

     24 comments about the Court's findings or any clarifications that

     25 it seeks at this point in time?


                     PATRICIA L. GANCI, RMR, CRR         (702) 385-0670
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.169 Filed 11/07/16 Page 31 of 65

                                                                                   8
                                    2:16-cv-2415-RFB-NJK


      1             MR. HARDY:    No, Your Honor.

      2             MR. GOTTLIEB:    No, Your Honor.

      3             THE COURT:    Okay.   So is there anything else that we

      4 need to do today?

      5             MR. GOTTLIEB:    Not from our perspective, Your Honor.

      6             MR. HARDY:    I'm assuming that order will be published

      7 just as soon as we get out of the courtroom today?

      8             THE COURT:    Well, it depends upon what else we have to

      9 do.    It may be published later.       The Court -- it's not clear to

     10 me at this point in time, depending on what else we have to do,

     11 whether or not I'm going to issue a more formal written ruling.

     12 I don't know that I'm required to do that.           That's why I try to

     13 be as explicit as I could be about the reasons why I was denying

     14 the TRO and Preliminary Injunction.          I don't know that I

     15 actually am required to issue a written ruling given the

     16 explicit findings of the Court, Mr. Hardy, unless you think that

     17 the Court needs to do that.

     18             MR. HARDY:    I'm just curious because you seemed like

     19 you'd read it.      I didn't know if you were reading it and you

     20 were going to publish that order or if it would just be merely a

     21 minute order that would come out.

     22             THE COURT:    Well, it depends on how much work you all

     23 have me do later on.

     24             MR. HARDY:    You've dealt with us for three days, so I

     25 don't want to push any farther.


                     PATRICIA L. GANCI, RMR, CRR         (702) 385-0670
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.170 Filed 11/07/16 Page 32 of 65

                                                                                   9
                                    2:16-cv-2415-RFB-NJK


      1             THE COURT:    If we're working together, we're working

      2 together.     No, I did want to again give you all an opportunity,

      3 that's why I read it in court, if you thought that there were

      4 things that you wanted to comment on and suggest.            That's why I

      5 read it in court and reviewed the findings in court.             I think

      6 it's consistent with what I have said previously on the record

      7 so far.

      8             So I don't know if there's anything else that we would

      9 need to address.      And so at this point in time I might issue a

     10 minute order indicating whether or not I'm going to have a

     11 separate written order or simply rely upon the transcript.                 I

     12 don't know if there's any other legal basis that the Court would

     13 need to lay out in terms of its consideration of the motion.

     14             Is there anything else that you think would need to be

     15 laid out, Mr. Hardy?

     16             MR. HARDY:    No, you're great there, Your Honor.        Thank

     17 you.

     18             THE COURT:    Mr. Gottlieb?

     19             MR. GOTTLIEB:     No, Your Honor.

     20             THE COURT:    Okay.   So, remember, before you leave today

     21 I would like all counsel to leave contact information, cell

     22 phones, too, please.        We will not share that with the other side

     23 unless you want us to, but please leave all contact information

     24 such that you can be contacted over the weekend because I want

     25 to be clear about something.        I don't really want to be in a


                     PATRICIA L. GANCI, RMR, CRR         (702) 385-0670
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.171 Filed 11/07/16 Page 33 of 65

                                                                                   10
                                    2:16-cv-2415-RFB-NJK


      1 situation where any lawyer says, Well, we didn't get the message

      2 until Monday morning.       We're going to send the messages on the

      3 contact information that you provide.          So I expect that you will

      4 all be checking it, as I will have to be checking, over the

      5 weekend for anything that comes in.

      6             Are we clear about that?

      7             MR. SPRINGMEYER:      Yes, Your Honor.

      8             MR. JENSEN:    Crystal clear, Your Honor.       But what time

      9 are we coming back on Monday?

     10             THE COURT:    Oh, you're right.     I did not set a time for

     11 that.

     12             (Court conferring with courtroom administrator.)

     13             THE COURT:    1:30 on Monday, the 7th.

     14             (Court conferring with law clerks.)

     15             THE COURT:    Okay.    We are adjourned on this matter.

     16 I'm going to stay on the bench for a few minutes.            Thank you.

     17             (Whereupon the proceeding concluded at 4:06 p.m.)

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                     PATRICIA L. GANCI, RMR, CRR         (702) 385-0670
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.172 Filed 11/07/16 Page 34 of 65


                                    2:16-cv-2415-RFB-NJK


      1                                    --oOo--

      2                        COURT REPORTER'S CERTIFICATE

      3

      4          I, PATRICIA L. GANCI, Official Court Reporter, United

      5 States District Court, District of Nevada, Las Vegas, Nevada,

      6 certify that the foregoing is a correct transcript from the

      7 record of proceedings in the above-entitled matter.

      8

      9 Date:    November 4, 2016.

     10                                           /s/ Patricia L. Ganci

     11                                           Patricia L. Ganci, RMR, CRR

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                     PATRICIA L. GANCI, RMR, CRR         (702) 385-0670
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.173 Filed 11/07/16 Page 35 of 65




                                Exhibit E
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.174 Filed 11/07/16 Page 36 of 65



   1    WO                            NOT FOR PUBLICATION
   2
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   5
   6                       IN THE UNITED STATES DISTRICT COURT
   7                              FOR THE DISTRICT OF ARIZONA
   8
   9   Arizona Democratic Party,                       No. CV-16-03752-PHX-JJT
  10                 Plaintiff,                        ORDER
  11   v.
  12   Arizona Republican Party, et al.,
  13                 Defendants.
  14
  15          In response to what it alleges to be a call for the intimidation of voters in next
  16    week’s presidential election by Donald J. Trump for President, Inc. (“Trump
  17    Campaign”), the Arizona Republican Party (“ARP”), Roger J. Stone, Jr., and Stop the
  18    Steal, Inc., the Arizona Democratic Party (“ADP”) filed this lawsuit a mere eight days
  19    before the election. Plaintiff ADP seeks injunctive relief for violations of the Ku Klux
  20    Klan Act of 1871, 42 U.S.C. § 1985(3), and Section 11(b) of Voting Rights Act of 1965,
  21    52 U.S.C. § 10307(b). (Doc. 1, Compl.) After the Court set an expedited briefing and
  22    hearing schedule (Doc. 7), Plaintiff filed a Motion for Temporary Restraining Order
  23    and/or Preliminary Injunction (Doc. 10, Mot.), Defendants ARP and the Trump
  24    Campaign filed a Response (Doc. 15, GOP Resp.), and Plaintiff filed a Reply thereto
  25    (Doc. 22, Reply to GOP).
  26          Plaintiff was only able to serve Defendant Stop the Steal on November 2, 2016
  27    (Doc. 19), the day its Response to Plaintiff’s Motion would have been due, and Plaintiff
  28    did not file a certificate of service with regard to Defendant Mr. Stone prior to the
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.175 Filed 11/07/16 Page 37 of 65



   1    Hearing (see Doc. 22-1). On November 3, 2016, the Court held a Hearing on Plaintiff’s
   2    Motion. (Doc. 24.) Stop the Steal and Mr. Stone appeared through counsel at the Hearing
   3    for the purpose of contesting both service and the Court’s jurisdiction over them in this
   4    matter. The Court denied Stop the Steal’s motion to dismiss and reserved judgment on
   5    that of Mr. Stone. (Doc. 24.) The Court heard evidence and argument from all parties on
   6    Plaintiff’s Motion and ordered briefing from Stop the Steal. (Doc. 24.) On November 4,
   7    2016, Stop the Steal and Mr. Stone filed a Response (Doc. 27, STS Resp.), and Plaintiff
   8    filed a Reply thereto (Doc. 28, Reply to STS).
   9           Considering all the evidence and arguments of the parties and for the reasons that
  10    follow, the Court will deny Mr. Stone’s Motion to Dismiss (Doc. 24) and deny Plaintiff’s
  11    Motion for Temporary Restraining Order and/or Preliminary Injunction (Doc. 10).
  12    I.     LEGAL ANALYSIS
  13           A.     Standing
  14           To bring a judicable lawsuit into Federal Court, Article III of the Constitution
  15    requires that one have “the core component of standing.” Lujan v. Defenders of Wildlife,
  16    504 U.S. 555, 560 (1992). To satisfy Article III’s standing requirements, a plaintiff must
  17    show that he suffered a “concrete and particularized” injury that is “fairly traceable to the
  18    challenged action of the defendant,” and that a favorable decision would likely redress
  19    the injury. Friends of the Earth, Inc. v. Laidlaw Environmental Servs. (TOC), Inc., 528
  20    U.S. 167, 180 (2000). In the complaint, the plaintiff must “alleg[e] specific facts
  21    sufficient” to establish standing. Schmier v. U.S. Court of Appeals for Ninth Circuit, 279
  22    F.3d 817, 821 (9th Cir. 2002). Accordingly, courts should dismiss a plaintiff’s complaint
  23    if he has failed to provide facts sufficient to establish standing. See, e.g., Chandler v.
  24    State Farm Mut. Auto. Ins. Co., 598 F.3d 1115, 1123 (9th Cir. 2010).
  25           An organization has standing “to seek judicial relief from injury to itself and to
  26    vindicate whatever rights and immunities the association itself may enjoy.” Warth v.
  27    Seldin, 422 U.S. 490, 511 (1975). An organization also has “associational standing” to
  28    bring suit on behalf of its members “when its members would otherwise have standing to


                                                    -2-
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.176 Filed 11/07/16 Page 38 of 65



   1    sue in their own right, the interests at stake are germane to the organization’s purpose,
   2    and neither the claim asserted nor the relief requested requires the participation of
   3    individual members in the lawsuit.” Friends of the Earth, Inc., 528 U.S. at 181 (citing
   4    Hunt v. Wash. State Apple Adver. Comm’n, 432 U.S. 333, 343 (1977)).
   5           In the Complaint, Plaintiff alleges it has standing to bring this action both on
   6    behalf of itself and its members “because it is supporting many candidates in the
   7    Presidential, Senate, House, and numerous statewide elections” and will suffer immediate
   8    and irreparable injury if Defendants’ alleged conspiracy to intimidate voters “succeeds in
   9    disrupting or changing the results of the election.” (Compl. ¶ 14.) This is sufficient to
  10    establish Plaintiff’s standing, see Crawford v. Marion Cnty. Election Bd., 553 U.S. 181,
  11    189 n.7 (2008), and Defendants do not challenge Plaintiff’s standing to bring its claims in
  12    this matter.
  13           B.      Mr. Stone’s Motion to Dismiss for Lack of Service and Jurisdiction
  14           At the Hearing, Mr. Stone, through counsel, moved to dismiss Plaintiff’s claims
  15    against him for lack of service and lack of jurisdiction. 1 (Tr. at 43.) Since then, Plaintiff
  16    has filed a certificate of service with regard to Mr. Stone (Doc. 26), so the Court will
  17    deny as moot his motion with regard to service. The Court addresses his motion with
  18    regard to jurisdiction here.
  19           In order for a federal court to adjudicate a matter, it must have jurisdiction over the
  20    parties. Ins. Corp. of Ir. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 701 (1982).
  21    The party bringing the action has the burden of establishing that personal jurisdiction
  22    exists. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citing
  23    McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178, 182-83 (1936)); Data Disc, Inc.
  24    v. Sys. Tech. Assocs., Inc., 557 F.2d 1280, 1285 (9th Cir. 1977). When a defendant
  25    moves, prior to trial, to dismiss a complaint for lack of personal jurisdiction, the plaintiff
  26    must “‘come forward with facts, by affidavit or otherwise, supporting personal
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  28           1
                The Court denied a similar motion brought by Defendant Stop the Steal at the
        Hearing. (Tr. at 52.)

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Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.177 Filed 11/07/16 Page 39 of 65



   1    jurisdiction.’” Scott v. Breeland, 792 F.2d 925, 927 (9th Cir. 1986) (quoting Amba Mktg.
   2    Sys., Inc. v. Jobar Int’l, Inc., 551 F.2d 784, 787 (9th Cir. 1977)).
   3           Because there is no statutory method for resolving the question of personal
   4    jurisdiction, “the mode of determination is left to the trial court.” Data Disc, 557 F.2d at
   5    1285 (citing Gibbs v. Buck, 307 U.S. 66, 71-72 (1939)). Where, as here, a court resolves
   6    the question of personal jurisdiction upon motions and supporting documents, the
   7    plaintiff “must make only a prima facie showing of jurisdictional facts through the
   8    submitted materials in order to avoid a defendant’s motion to dismiss.” Id. In determining
   9    whether the plaintiff has met that burden, the “uncontroverted allegations in [the
  10    plaintiff’s] complaint must be taken as true, and conflicts between the facts contained in
  11    the parties’ affidavits must be resolved in [the plaintiff’s] favor.” Rio Props., Inc. v. Rio
  12    Int’l Interlink, 284 F.3d 1007, 1019 (9th Cir. 2002) (citation omitted).
  13           To establish personal jurisdiction over a nonresident defendant, a plaintiff must
  14    show that the forum state’s long-arm statute confers jurisdiction over the defendant and
  15    that the exercise of jurisdiction comports with constitutional principles of due process.
  16    Id.; Omeluk v. Langsten Slip & Batbyggeri A/S, 52 F.3d 267, 269 (9th Cir. 1995).
  17    Arizona’s long-arm statute allows the exercise of personal jurisdiction to the same extent
  18    as the United States Constitution. See Ariz. R. Civ. Proc. 4.2(a); Cybersell v. Cybersell,
  19    130 F.3d 414, 416 (9th Cir. 1997); A. Uberti & C. v. Leonardo, 892 P.2d 1354, 1358
  20    (Ariz. 1995) (stating that under Rule 4.2(a), “Arizona will exert personal jurisdiction over
  21    a nonresident litigant to the maximum extent allowed by the federal constitution”). Thus,
  22    a court in Arizona may exercise personal jurisdiction over a nonresident defendant so
  23    long as doing so accords with constitutional principles of due process. Cybersell, 130
  24    F.3d at 416.
  25           Due process requires that a nonresident defendant have sufficient minimum
  26    contacts with the forum state so that “maintenance of the suit does not offend ‘traditional
  27    notions of fair play and substantial justice.’” Int’l Shoe Co. v. Washington, 326 U.S. 310,
  28    316 (1945) (quoting Milliken v. Meyer, 311 U.S. 457, 463 (1940)); see also Data Disc,


                                                     -4-
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.178 Filed 11/07/16 Page 40 of 65



   1    557 F.2d at 1287. Courts recognize two bases for personal jurisdiction within the
   2    confines of due process: “(1) ‘general jurisdiction’ which arises when a defendant’s
   3    contacts with the forum state are so pervasive as to justify the exercise of jurisdiction
   4    over the defendant in all matters; 2 and (2) ‘specific jurisdiction’ which arises out of the
   5    defendant’s contacts with the forum state giving rise to the subject litigation.” Birder v.
   6    Jockey’s Guild, Inc., 444 F. Supp. 2d 1005, 1008 (C.D. Cal. 2006).
   7           Here, Plaintiff contends that the Court has specific jurisdiction over Mr. Stone
   8    through his actions in conjunction with and as a volunteer for Stop the Steal. The issue of
   9    whether specific jurisdiction will lie turns on the extent of the defendant’s contacts with
  10    the forum and the degree to which the plaintiff’s suit is related to those contacts. Yahoo!
  11    Inc. v. La Ligue Contre Le Racisme Et L’Antisemitisme, 433 F.3d 1199, 1210 (9th Cir.
  12    2006). The Ninth Circuit uses the following approach in making this evaluation: (1) the
  13    nonresident defendant must do some act in or consummate some transaction with the
  14    forum, or perform some act by which it purposefully avails itself of the privilege of
  15    conducting activities in the forum, thereby invoking the benefits and protections of its
  16    laws; (2) the claim must be one which arises out of or results from the defendant's forum-
  17    related activities; and (3) exercise of jurisdiction must be reasonable. Data Disc, 557 F.2d
  18    at 1287. All three requirements must be satisfied for the exercise of jurisdiction to
  19    comport with constitutional principles of due process. Omeluk, 52 F.3d at 270. The
  20    plaintiff bears the burden of establishing the first two prongs of the test. Schwarzenegger
  21    v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004). If the plaintiff does so, the
  22    burden shifts to the defendant to set forth a “compelling case” that the exercise of
  23    jurisdiction would be unreasonable. Mavrix Photo, Inc. v. Brand Tech’s., Inc., 647 F.3d
  24    1218, 1228 (9th Cir. 2011) (citing Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476-78
  25    (1985)).
  26
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  28           2
                  Plaintiff does not attempt to provide facts to support a finding of general
        jurisdiction over Mr. Stone.

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Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.179 Filed 11/07/16 Page 41 of 65



   1           With regard to the first element, the plaintiff must show the defendant “either (1)
   2    ‘purposefully availed’ himself of the privilege of conducting activities in the forum, or
   3    (2) ‘purposefully directed’ his activities toward the forum.” Pebble Beach Co. v. Caddy,
   4    453 F.3d 1151, 1155 (9th Cir. 2006) (quoting Schwarzenegger, 374 F.3d at 802). The
   5    Ninth Circuit has explained that in cases involving tortious conduct, as here, the
   6    purposeful direction analysis is most commonly applied. Mavrix Photo, 647 F.3d at 1228.
   7    Purposeful direction is determined by using the “effects” test that was developed in
   8    Calder v. Jones, 465 U.S. 783, 789-90 (1984). The effects test requires that “the
   9    defendant allegedly must have (1) committed an intentional act, (2) expressly aimed at
  10    the forum state, (3) causing harm that the defendant knows is likely to be suffered in the
  11    forum state.” Yahoo!, at 1206.
  12           A defendant’s intentional act in the forum state does not necessarily have to be
  13    wrongful or tortious. “In any personal jurisdiction case we must evaluate all of a
  14    defendant’s contacts with the forum state, whether or not those contacts involve wrongful
  15    activity by the defendant.” Yahoo!, 433 F.3d at 1207. Courts must consider “the extent of
  16    the defendant’s contacts with the forum and the degree to which the plaintiff’s suit is
  17    related to those contacts. A strong showing on one axis will permit a lesser showing on
  18    the other.” Id. at 1210.
  19           Plaintiff alleges and proffers some evidence that Mr. Stone and Stop the Steal have
  20    “engaged in the recruitment of individuals to come into the State of Arizona for the
  21    purpose of engaging in election monitoring and exit poll activities on Election Day in
  22    Arizona,” including signing up 107 volunteers as of November 1, 2016, and that
  23    Mr. Stone has publicly and repeatedly tied himself to Stop the Steal. (Tr. at 47-50; Reply
  24    to STS at 3-6.) Though Mr. Stone’s counsel argued that Mr. Stone is distinct from Stop
  25    the Steal in terms of these actions (Tr. at 46), Mr. Stone produced no evidence to
  26    contradict Plaintiff’s evidence. The Court finds that, through the acts of recruiting and
  27    organizing exit poll takers to come to Arizona polling places, Mr. Stone has sufficient
  28    contacts with Arizona. Furthermore, it is undisputed that Plaintiff’s claims arise from


                                                  -6-
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.180 Filed 11/07/16 Page 42 of 65



   1    those contacts. Because Mr. Stone made no argument that the Court’s exercise of
   2    jurisdiction would be unreasonable, the Court finds it has jurisdiction over Mr. Stone in
   3    this matter. Accordingly, the Court will deny Mr. Stone’s oral motion to dismiss on that
   4    basis.
   5             C.    Plaintiff’s Motion for Injunctive Relief
   6             The Supreme Court has observed that “a preliminary injunction is an extraordinary
   7    and drastic remedy, one that should not be granted unless the movant, by a clear showing,
   8    carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997)
   9    (internal quotation and citation omitted). “A plaintiff seeking a preliminary injunction
  10    must establish that he is likely to succeed on the merits, that he is likely to suffer
  11    irreparable harm in the absence of preliminary relief, that the balance of equities tips in
  12    his favor, and that an injunction is in the public interest.” Winter v. Natural Res. Def.
  13    Council, Inc., 555 U.S. 7, 20 (2008) (citations omitted); see also Garcia v. Google, Inc.,
  14    786 F.3d 733, 740 (9th Cir. 2015). The Ninth Circuit Court of Appeals, employing a
  15    sliding scale analysis, has also stated that, where there are “serious questions going to the
  16    merits” such that a plaintiff has not necessarily demonstrated a “likelihood of success,” “a
  17    hardship balance that tips sharply toward the plaintiff can support issuance of an
  18    injunction, assuming the other two elements of the Winter test are also met.” Drakes Bay
  19    Oyster Co. v. Jewell, 747 F.3d 1073, 1085 (9th Cir. 2013) (internal quotations and
  20    citations omitted).
  21                   1.     Likelihood of Success on the Merits
  22             Plaintiff brings claims under both the Voting Rights Act and Ku Klux Klan Act.
  23    Section 11(b) of the Voting Rights Act provides, “No person, whether acting under color
  24    of law or otherwise, shall intimidate, threaten, or coerce, or attempt to intimidate,
  25    threaten, or coerce any person for voting or attempting to vote” or “for urging or aiding
  26    any person to vote or attempt to vote.” 52 U.S.C. § 10307(b). 3 The statute does not
  27
                 3
                ARP and the Trump Campaign argue that an action under Section 11(b) of the
  28    Voting Rights Act requires a showing that a defendant intended to intimidate, threaten or
        coerce or attempt to intimidate, threaten or coerce a person for voting or attempting to

                                                    -7-
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.181 Filed 11/07/16 Page 43 of 65



   1    exclude a private right of action for injunctive relief, as Plaintiff has brought here. Allen
   2    v. State Bd. of Elections, 393 U.S. 544, 555-56 & n.18 (1969); see also 28 U.S.C.
   3    § 1343(a)(4).
   4           The Ku Klux Klan Act provides that an injured party has a right of action for
   5    recovery of damages against a person who, with another person, “conspire[s] to prevent
   6    by force, intimidation, or threat, any citizen who is lawfully entitled to vote, from giving
   7    his support or advocacy in a legal manner, toward or in favor of the election of any
   8    lawfully qualified person as an elector for President or Vice President, or as a Member of
   9    Congress of the United States.” 42 U.S.C. § 1985(3). 4
  10           Arizona law also includes an anti-voter intimidation provision, which states it is a
  11    class 1 misdemeanor for a person, directly or indirectly, to knowingly “practice
  12    intimidation” or “inflict or threaten infliction” of “injury, damage, harm or loss” in order
  13    “to induce or compel” a voter “to vote of refrain from voting for a particular person or
  14    measure at any election provided by law, or on account of such person having voted or
  15    refrained from voting at an election.” A.R.S. § 16-1013. In addition, Arizona more
  16    stringently controls the area within 75 feet of a polling place as posted by election
  17    officials. A.R.S. § 16-515. At any time the polls are open (except for the purpose of
  18    voting and for election officials), only “one representative 5 at any one time of each
  19
        vote. (GOP Resp. at 22 (citing Olagues v. Russoniello, 770 F.2d 791, 804 (9th Cir.
  20    1985)).) Plaintiff argues that an action under Section 11(b) only requires that a defendant
        intended to act, with the result that the actions intimidate, threaten or coerce or attempt to
  21    intimidate, threaten or coerce a person for voting or attempting to vote. (Reply to GOP at
        4 (citing Section 11(b) of the Voting Rights Act); Reply to STS at 7-9.) While the Court
  22    agrees with Plaintiff that the plain language of the statute does not require a particular
        mens rea, the Court need not decide this question to resolve Plaintiff’s Motion.
  23
               4
                 ARP and the Trump Campaign argue that an action under 42 U.S.C. § 1985(3)
  24    requires a showing of racial animus and that the specific provision invoked by Plaintiff—
        the “support and advocacy clause”—cannot be applied against a non-state actor. (GOP
  25    Resp. at 17-19.) Plaintiff disagrees on both counts. (Reply to GOP at 4-8.) Again, the
        plain language of the statute does not require either of the elements proposed by ARP and
  26    the Trump Campaign. For the purpose of resolving Plaintiff’s Motion, the Court
        presumes application of the “support and advocacy clause,” like the other clauses in 42
  27    U.S.C. § 1985(3), to ARP and the Trump Campaign as non-state actors. The Court need
        not read into the statute a racial animus requirement to resolve Plaintiff’s Motion.
  28
               5
                   For the purposes of this Order, the Court refers to these representatives provided

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Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.182 Filed 11/07/16 Page 44 of 65



   1    political party represented on the ballot who has been appointed by the county chairman
   2    of that political party and the challengers allowed by law” may be present within the 75-
   3    foot limit, and “[v]oters having cast their ballots shall promptly move outside” the 75-
   4    foot limit. A.R.S. § 16-515(A). Election officials, party representatives and challengers
   5    authorized by law to be within the 75-foot limit “shall not wear, carry or display materials
   6    that identify or express support for or opposition to a candidate, a political party or
   7    organization, a ballot question or any other political issue and shall not electioneer”
   8    within the 75-foot limit. A.R.S. § 16-515(F). The statute defines “electioneering” as
   9    expressing support for or against a political party, candidate or ballot measure
  10    “knowingly, intentionally, by verbal expression and in order to induce or compel another
  11    person to vote in a particular manner or refrain from voting.” A.R.S. § 16-515(I). The
  12    statute also provides that no person shall take photographs or videos while within the 75-
  13    foot limit. A.R.S. § 16-515(G). A violation of any of these provisions is a class 2
  14    misdemeanor. A.R.S. § 16-515(H).
  15           For Plaintiff’s claim under the Voting Rights Act, Plaintiff must demonstrate that
  16    Defendants acted or attempted to intimidate, threaten or coerce a person for voting or
  17    attempting to vote; similarly, for Plaintiff’s claim under the Ku Klux Klan Act, Plaintiff
  18    must demonstrate that Defendants conspired to prevent a person from voting through
  19    force, intimidation or threat. Plaintiff claims that Defendants’ statements to their
  20    constituents urging them to be present and observe the activities of other voters at polling
  21    places, to follow other voters and interrogate them as to their votes, to record other
  22    voters’ license plates, to photograph and video-record other voters, and to call 911 if they
  23    suspect someone has engaged in voter fraud constitute at least an attempt to intimidate
  24    and/or threaten voters for voting or attempting to vote. (E.g., Compl. ¶¶ 49, 51, 58.)
  25    Plaintiff also claims that the plan by Mr. Stone and Stop the Steal to conduct exit polls at
  26
  27
        for by statute and duly appointed as “credentialed poll watchers.” The Court refers to
  28    those persons present to observe activities at a polling place who are not appointed under
        the statute as “uncredentialed observers.”

                                                   -9-
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.183 Filed 11/07/16 Page 45 of 65



   1    carefully selected polling places is merely a pretext for intimidating minority voters.
   2    (E.g., Compl. ¶¶ 36-39.)
   3                         a.     Statements of the Arizona Republican Party
   4           In conjunction with its claims against ARP, Plaintiff proffers evidence that, in a
   5    press release, ARP Chairman Robert Graham stated that the party’s credentialed poll
   6    watchers “will be the eyes and ears of the GOP to look for those who show up with
   7    multiple ballots.” (Doc. 11-2 at 6-8, Gonski Decl. Ex. 2.) Acknowledging that state law
   8    prohibits talking to voters or taking photographs in polling places, Mr. Graham stated that
   9    credentialed poll watchers are “still free to follow voters out into the parking lot, ask
  10    them questions, take their pictures and photograph their vehicles and license plate.”
  11    (Gonski Decl. Ex. 2.) ARP spokesman Tim Sifert added that credentialed poll watchers
  12    are “free to go outside that 75-foot limit” and “[t]hat’s where they can turn on their phone
  13    to take video or pictures or something like that.” (Gonski Decl. Ex. 2.) Mr. Graham also
  14    stated that, if they believe a felony is in progress, credentialed poll watchers can call 911.
  15    (Gonski Decl. Ex. 2.) Plaintiff claims that these statements amount to a call for ARP’s
  16    credentialed poll watchers to intimidate voters at polling places. Moreover, Plaintiff
  17    points to evidence that ARP is flooded with requests from people who would like to
  18    become credentialed poll watchers in the upcoming election—some of whom, Plaintiff
  19    asserts, the Trump Campaign recruited—to argue that ARP is cooperating with the
  20    Trump Campaign to intimidate voters on a wide scale.
  21           Mr. Graham and Mr. Sifert made their statements in the context of a new Arizona
  22    law, A.R.S. § 16-1005(H)-(I), which prohibits a practice called “ballot harvesting,” or
  23    collecting other people’s ballots (with some exceptions, including family members and
  24    caregivers) and delivering them to polling places. 6 The press release makes the context of
  25    the ARP officials’ statements clear; Mr. Graham states that the ARP’s credentialed poll
  26    watchers are looking “for those who show up with multiple ballots.” (Gonski Decl.
  27
               6
                 The day after the Hearing, an en banc panel of the Ninth Circuit Court of
  28    Appeals ruled that the statute is constitutionally infirm and struck it down in Ninth
        Circuit Case No. 16-16698, Order dated Nov. 4, 2016. (See Reply to STS at 2.)

                                                    - 10 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.184 Filed 11/07/16 Page 46 of 65



   1    Ex. 2.) Contrary to Plaintiff’s suggestion, nothing in these officials’ statements to the
   2    press indicates that ARP is training or otherwise instructing its credentialed poll
   3    watchers, or anyone else, to follow voters to their cars or take their photographs for
   4    reasons other than suspected ballot harvesting. Both officials also state that Arizona law
   5    prohibits talking to voters or taking photographs at polling places, that is, within the 75-
   6    foot limit. (Gonski Decl. Ex. 2; see also Doc. 25, Transcript of Nov. 3, 2016 Hearing
   7    (“Tr.”) at 71-72.)
   8           At the Hearing, Mr. Graham testified that the Arizona Republican Lawyers
   9    Association (“ARLA”) trains ARP’s credentialed poll watchers and is responsible for the
  10    contents of the training manual. (Tr. at 58, 64-65.) He confirmed that ARP has received
  11    requests from approximately 1,000 people to be poll watchers for this election, compared
  12    to approximately 200 in past elections, but that ARP does not have the resources to train
  13    all of those interested before this election and those not trained will not become
  14    credentialed poll watchers. (Tr. at 59, 69.) Mr. Graham stated that in his time with ARP,
  15    there has never been an issue with credentialed poll watchers acting improperly in past
  16    elections. (Tr. at 71.) He also stated that ARP’s credentialed poll watching program is
  17    provided for by law—the same as in past elections—and that ARP is not coordinating
  18    with the Trump Campaign or anyone else to organize any other poll watching activities.
  19    (Tr. at 57, 68, 71, 76-77.) Indeed, Mr. Graham testified that he had never heard of Stop
  20    the Steal or Mr. Stone before this lawsuit. (Tr. at 73-74.) Mr. Graham confirmed that his
  21    statements in the press were specifically aimed at the new ballot harvesting law and that,
  22    if the Ninth Circuit strikes down the ballot harvesting prohibition, ARP would instruct
  23    credentialed poll watchers not to photograph voters dropping off multiple ballots. 7 (Tr. at
  24    72.) The Court heard no evidence of a broad conspiracy to intimidate voters through poll
  25    watching, as claimed by Plaintiff, or a plan by ARP to train or otherwise organize poll
  26    watchers with the Trump Campaign, Stop the Steal or Mr. Stone.
  27
               7
                After the Ninth Circuit did strike the ballot harvesting law, ARP filed a Notice
  28    (Doc. 30-2) that it was informing its credentialed poll watchers via its website not to
        follow or photograph voters suspected of ballot harvesting or, indeed, any voter.

                                                   - 11 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.185 Filed 11/07/16 Page 47 of 65



   1           Walter Opaska testified on behalf of ARLA, which has taken on the responsibility
   2    of training credentialed poll watchers for the Republican Party in Arizona. (Tr. at 81.)
   3    Mr. Opaska stated that ARLA trains credentialed poll watchers never to talk to or
   4    confront voters and not to lodge a “challenge” as provided for by law against any voter.
   5    (Tr. at 87-88.) Mr. Opaska stated that credentialed poll watchers do not have the authority
   6    to enforce the now stricken ballot harvesting law, or any other law, and if they suspect a
   7    voter is breaking the law, they are to report it to the elections inspector. (Tr. at 88-90.) He
   8    tells credentialed poll watchers that they may discreetly take photos or videos of a person
   9    suspected of breaking the law outside the 75-foot limit but never to interact with a voter.
  10    (Tr. at 87, 90-91.) While the training manual for credentialed poll watchers states that a
  11    voter could be suspected of ballot harvesting if he or she brings in three or more ballots,
  12    Mr. Opaska stated that he instructed credentialed poll watchers only to be suspicious of
  13    voters who come to the polling place with “10, 20, a box load of ballots”—an instruction
  14    that is no longer meaningful in the absence of a ballot harvesting prohibition. (Tr. at 86,
  15    90.) He stated that, in the years he has been involved in the program, there has never been
  16    a report that a credentialed poll watcher for the Arizona GOP challenged a voter. (Tr. at
  17    94.) The Court heard no evidence that ARP is affiliated with training poll watchers to
  18    engage in any activities that would on their face constitute intimidation, threat, coercion
  19    or force against any voter for voting or attempting to vote.
  20           In its brief filed after the Hearing, Plaintiff provides a screen-shot of a page from
  21    ARP’s website that states, “If you observe anything improper or illegal at the polls on
  22    Election Day please use this form to report it to the Arizona Republican Party. Submit
  23    any photos, videos, or other materials as evidence. Thank you for your service to ensure
  24    the integrity of elections in Arizona!” (Reply to STS at 3; Ex. 3.) Plaintiff argues that this
  25    statement contemplates activity beyond that which ARP claims it proscribes, both by
  26    encouraging members of the public to be uncredentialed observers at polling places by
  27    taking photos or videos of perceived illegal activity and by failing to advise
  28    uncredentialed observers that no photos or videos can be taken within the 75-foot limit.


                                                    - 12 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.186 Filed 11/07/16 Page 48 of 65



   1    (Reply to STS at 3.) On its face, there is nothing untoward about telling members of the
   2    public to say something if they witness the law being broken, and ARP’s website does
   3    not exhort action for any specific perceived crime or against any specific type of person
   4    or group. The Court thus sees no obvious tie between the statement on the website and
   5    intimidation, threat, coercion or force against any voter for voting or attempting to vote.
   6    Moreover, Arizona law already provides that no photographs or videos can be taken
   7    within the 75-foot limit—a rule that everyone is obligated to follow—and ARP’s website
   8    is not telling uncredentialed observers to break the law. 8
   9           Plaintiff likens ARP’s statements regarding following and photographing a narrow
  10    group of voters suspected of ballot harvesting or breaking the law to actions that the
  11    District of South Dakota enjoined in the context of a prior election in Daschle v. Thune,
  12    No. 04-CV-4177 (D.S.D. Nov. 2, 2004). There, the court received evidence that
  13    individuals acting on behalf of the defendants in that case followed Native American
  14    voters from the polling places and copied or otherwise recorded their license plate
  15    numbers, and that the conduct resulted in intimidation of Native American voters,
  16    particularly through the resulting word of mouth among the Native American population.
  17    Id. The two cases are not similar, however. There, the defendants had already taken
  18    actions against a group of voters that the group already perceived as intimidation, and the
  19    court had evidence that defendants’ actions were likely to suppress the vote. Here,
  20    Plaintiff produced no evidence that ARP’s actions will result in voter intimidation.
  21    Indeed, although ARP publicly condoned the idea that its credentialed poll watchers
  22    could follow and photograph a voter outside the 75-foot limit in the narrow instance in
  23    which the voter was suspected of violating Arizona’s new ballot harvesting law, that law
  24    is no longer valid. Credentialed poll watchers are trained not to talk to, confront, or
  25    interact in any way with the voter. ARP’s public statements with regard to following and
  26    photographing voters outside the 75-foot limit were made only in the context of helping
  27
  28           8
                 After the Ninth Circuit struck the ballot harvesting law, ARP filed a Notice
        declaring that it removed the subject page from its website. (Doc. 30-2.)

                                                    - 13 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.187 Filed 11/07/16 Page 49 of 65



   1    law enforcement enforce the now-invalid ballot harvesting law and could not reasonably
   2    have been read to address voters generally, much less intimidate them. Moreover,
   3    credentialed poll watchers for both political parties are established and regulated by
   4    Arizona law, and there is no evidence of even a single incident between a credentialed
   5    poll watcher and voter since at least 2006—the period of time Mr. Opaska has been
   6    involved with the ARLA credentialed poll watcher training.
   7           With regard to the statement on ARP’s website, it is tailored to recording
   8    somebody suspected of breaking the law and it is not on its face tied to voter
   9    intimidation. The Court also heard no evidence of coordination between ARP and the
  10    other Defendants such that statements of the other Defendants could be tied to ARP. As a
  11    result, the Court cannot find that Plaintiff is likely to succeed in showing ARP’s
  12    statements constitute intimidation, threat, coercion or force against voters for voting or
  13    attempting to vote in violation of the Voting Rights Act and/or the Ku Klux Klan Act.
  14                         b.     Statements of the Trump Campaign
  15           In its pleadings, moving papers and presentation to the Court, Plaintiff identified
  16    various statements made by the candidate, his surrogates and campaign officials that, it
  17    argues, show both an intent on the part of the Trump Campaign to intimidate voters and
  18    intimidation in fact. Plaintiff pointed to an unnamed Trump Campaign official recently
  19    telling reporters that “[w]e have three major voter suppression operations under way,”
  20    which Plaintiff summarized as targeting “Latinos, African Americans, and other groups
  21    of voters.” (Compl. at 1.) It introduced news articles relating Mr. Trump’s own
  22    statements at campaign rallies and before the media that the election is “rigged” and that
  23    widespread voter fraud will favor his opponent. Plaintiff relates additional statements by
  24    Mr. Trump to his supporters that, “[a]s opposed to somebody coming up and voting 15
  25    times for Hillary[,] I will not tell you to vote 15 times. I will not tell you to do that. You
  26    won’t vote 15 times, but people will. They’ll vote many times, and how that could have
  27    happened is unbelievable.” (Gonski Decl. Ex. 18.)
  28


                                                    - 14 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.188 Filed 11/07/16 Page 50 of 65



   1           During a speech given in Pennsylvania, Mr. Trump told attendees, “I hope you
   2    people can sort of not just vote on the eighth [but] go around and look and watch other
   3    polling places and make sure that it’s 100 percent fine. . . . Go down to certain areas and
   4    watch and study, make sure other people don’t come in and vote five times.” (Gonski
   5    Decl. Ex. 11.) The following week, while exhorting followers to “go out and watch” for
   6    voter fraud, Mr. Trump told attendees, “[a]nd when I say ‘watch,’ you know what I’m
   7    talking about, right?” (Gonski Decl. Ex. 19.) In Michigan, the candidate told those
   8    present to “[g]o to your place and vote, then go pick some other place, and go sit there
   9    with friends and make sure it’s on the up and up.” (Gonski Decl. Ex. 20.)
  10           Plaintiff introduced as evidence additional media reports that campaign
  11    spokespersons were to emphasize talking points stating, among other things, “We have
  12    []seen very significant recent voting irregularities across the country from Pennsylvania
  13    to Colorado and an increase in unlawful voting by illegal immigrants”; “Non-citizen
  14    votes may have been responsible for Barack Obama’s narrow margin of victory in North
  15    Carolina in 2008”; and, “More than 14 percent of non-citizens surveyed in 2008 and 2010
  16    [] said they were registered to vote.” (Gonski Decl. Ex. 10.)
  17           Finally, Plaintiff provided pages from the Trump Campaign website where those
  18    interested could “Volunteer to be a Trump Election Observer” to “Help [Trump] Stop
  19    Crooked Hillary From Rigging This Election,” which had fillable fields asking for an
  20    entrant’s name, contact information and date of birth. (Gonski Decl. Ex. 3.) From the
  21    above statements, talking points and webpage, Plaintiff urges the conclusion that the
  22    Trump Campaign has intimidated, threatened or coerced persons for voting, or attempts
  23    to so intimidate, threaten or coerce such persons in violation of the Voting Rights Act.
  24    Plaintiff also urges the conclusion that the Trump Campaign and its co-Defendants have
  25    conspired to prevent voters from voting by intimidation or threat, or to injure them for
  26    voting, in violation of the Ku Klux Klan Act.
  27           Plaintiff’s evidence regarding the Trump Campaign is insufficient to demonstrate
  28    a likelihood of success on the merits of either its Voting Rights Act claim or its Ku Klux


                                                   - 15 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.189 Filed 11/07/16 Page 51 of 65



   1    Klan Act claim. First, at least some of the Trump Campaign’s statements on which
   2    Plaintiff relies are taken out of context because they were abbreviated, and when
   3    considered in full, do not persuade at all that they evince an intent to intimidate voters, or
   4    to coordinate or conspire with others to deny the vote to anyone; nor when read in full
   5    would the statements have the effect of intimidating a voter. The quote that the campaign
   6    had “three major voter suppression operations underway,” which Plaintiff summarizes as
   7    against Latinos, African Americans, and others, without more, leads a reader to conclude
   8    that the “suppression” referred to is to be achieved by denying the vote to certain groups,
   9    and that the only groups being “suppressed” are minority voters. A reading of the full text
  10    of the article provides a different meaning:
  11                  “We have three major voter suppression operations under
                      way,” says a senior official. They’re aimed at three groups
  12                  Clinton needs to win overwhelmingly: idealistic white
                      liberals, young women, and African Americans. Trump’s
  13                  invocation at the debate of Clinton’s WikiLeaks e-mails and
                      support for the Trans-Pacific Partnership was designed to turn
  14                  off Sanders supporters. The parade of women who say they
                      were sexually assaulted by Bill Clinton and harassed or
  15                  threatened by Hillary is meant to undermine her appeal to
                      young women. And her 1996 suggestion that some African
  16                  American males are “super predators” is the basis of a below-
                      the-radar effort to discourage infrequent black voters from
  17                  showing up at the polls—particularly in Florida.
  18    Inside the Trump Bunker, With Days to Go, Joshua Green and Sasha Issenberg,
  19    Bloomberg Business, October 27, 2016. The full text makes clear the speaker uses the
  20    word “suppression” to describe efforts to persuade voters not to vote for Hillary Clinton
  21    by pointing out issues on which the Trump Campaign believes her positions do not
  22    appeal to those voter demographic groups—not any effort to deny the vote by
  23    intimidation or otherwise. The quote also makes clear that the Trump Campaign is
  24    targeting its arguments against voting for Ms. Clinton to groups beyond minorities. The
  25    quotation from the unnamed campaign official is not persuasive of any element of proof
  26    required here.
  27           Second, whether true or false, and whether appealing or repugnant to the listener,
  28    Mr. Trump’s and his agents’ statements that the election is rigged, that voter fraud is


                                                    - 16 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.190 Filed 11/07/16 Page 52 of 65



   1    being perpetrated en masse by “illegal aliens,” and that his supporters should go to polls
   2    and watch to ensure a fair election, without more, simply do not prove actual or likely
   3    intimidation. One can seriously question the wisdom of stirring up supporters about a
   4    controversial issue, encouraging them to go to a precinct that is not their own, and telling
   5    them to look for “voter fraud” without defining what it is, leaving individuals to their
   6    own devices to figure out how to go about that task. 9 If the objective of observing is to
   7    detect persons voting more than once, the fact that the observer is in a precinct not their
   8    own, whether in the next town or the next state, only adds to the difficulty of recognizing
   9    a voter coming through the line more than once. And if the objective of observing, as
  10    strongly suggested by the candidate’s statements, is to detect persons attempting to vote
  11    who are ineligible because they are not citizens, it is beyond question that no one can tell
  12    a person’s citizenship based on what that person looks like or sounds like. But whatever
  13    the shortcomings of the Trump Campaign’s statements on this issue might be, simply
  14    arguing there is voter fraud and urging people to watch out for it is not, without more,
  15    sufficient to justify the extraordinary relief that an injunction constitutes.
  16           Plaintiff bears the burden of providing the evidence to take its claims from a
  17    nebulous concern over Defendants’ statements, to a likelihood that the named Defendants
  18    and those acting in concert with them will intimidate, threaten, coerce, or attempt to
  19    intimidate, threaten or coerce, voters. Plaintiff has produced no evidence that anyone who
  20    signed up on the Trump Campaign website was ever contacted to follow up or connect
  21    them with a polling place. It produced no evidence that the Trump Campaign organized,
  22    trained or otherwise facilitated any volunteer’s actual attendance at a polling place as an
  23
               9
                  Indeed, among other evidence, Plaintiff produces a Tweet from a Trump
  24    supporter in Florida stating he planned to be “wear’n red at polls,” “watch’n fer
        shenanigans,” and “haul ya away,” accompanied by a photo of a pickup truck and a
  25    person-sized cage built in the bed, surrounded by American flags. (Gonski Decl. Ex. 7.)
        An Ohio supporter stated, “it’s called racial profiling. Mexicans. Syrians. People who
  26    can’t speak American. I’m going to go right up behind them. I’ll do everything legally. I
        want to see if they are accountable. I’m not going to do anything illegal. I’m going to
  27    make them a little bit nervous.” (Gonski Decl. Ex. 6.) While these statements are deeply
        troubling, they do not illustrate an organized effort to intimidate voters in this
  28    jurisdiction, but rather appear to be outlier statements from other jurisdictions. Enjoining
        Defendants in this action is not likely to address those statements.

                                                     - 17 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.191 Filed 11/07/16 Page 53 of 65



   1    observer, in Arizona or elsewhere. It produced no evidence of any specific actions that
   2    observers would take, things they would say, or other facts that would allow the Court to
   3    evaluate whether such actions or statements could or would constitute intimidation,
   4    instead inviting the Court to conclude that the Trump Campaign’s general exhortations to
   5    watch polling places is enough, and largely to speculate about what will come of them.
   6           Plaintiff produced no evidence that the Trump Campaign had engaged in voter
   7    intimidation in Arizona in the past. And despite that early in-person voting has been
   8    ongoing in Arizona for over three weeks, it produced no evidence of any attempts at voter
   9    intimidation, or any voter reporting they felt intimidated, during this cycle. This places
  10    the instant case in vastly different territory than Daschle v. Thune, where, as discussed
  11    above, the court had before it concrete examples of voter intimidation by the defendants’
  12    supporters that had actually occurred during early voting, thus removing any air of
  13    speculation about likelihood of harm to voters or the plaintiff.10
  14           Without any of these several types of evidence, the Court is unable to evaluate in
  15    any meaningful way the likelihood of the harm Plaintiff urges will occur in terms of
  16    actual or attempted voter intimidation as a result of the Trump Campaign’s statements.
  17    For that reason, Plaintiff is unlikely to succeed on the merits of its Voting Rights Act
  18    claim. Nor is Plaintiff likely to succeed on the merits of its claim under the Ku Klux Klan
  19    Act, as it has not presented sufficient evidence of a conspiracy between the Trump
  20    Campaign and any co-Defendant to suppress votes in Arizona. As discussed above, the
  21    uncontroverted evidence at the hearing was that ARP did not communicate with the
  22    Trump Campaign on this topic and that the poll watching manual made available to all
  23    credentialed Republican poll watchers advises them not to contact voters directly and
  24    states that as a general matter, credentialed poll watchers do not challenge voters.
  25
  26
  27           10
                 The Court notes, as have other district courts considering similar matters, that
        should evidence arise on or before November 8, 2016, demonstrating harm or likelihood
  28    of harm as a result of Defendants’ actions, it would entertain renewal of Plaintiff’s
        Motion.

                                                   - 18 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.192 Filed 11/07/16 Page 54 of 65



   1           As for Defendants Stop the Steal and Mr. Stone, whatever communications may
   2    occur between them and the Trump Campaign, Plaintiff has not produced evidence
   3    sufficient to persuade the Court that they have conspired to intimidate voters, based on
   4    the same analysis as above. The Court agrees with Plaintiff’s counsel that it may make
   5    inferences from what evidence exists. But at some point the inferences become so
   6    attenuated as to be speculative. In the Court’s judgment, based on the evidence before it,
   7    the inferences necessary to reach a conclusion that there is a conspiracy to intimidate
   8    voters have reached the point of speculation.
   9                          c.         Statements of Stop the Steal and Mr. Stone
  10           Plaintiff has proffered evidence that Stop the Steal’s planned exit polling is
  11    illegitimately designed to target Democratic-leaning and majority-minority districts,
  12    rather than legitimate exit polling, which requires broad geographical distribution to
  13    produce unbiased, reliable results. (Doc. 12, Mellman Report and Decl. at 1.) This may
  14    be true. However, as Stop the Steal’s counsel iterated, there is no requirement that exit
  15    polls be scientific. (Tr. at 158-59 (“Stop the Steal isn’t required to be scientific. It’s not
  16    even required to succeed. It may fail.”).) Nor is Stop the Steal or Mr. Stone required to
  17    operate a polling firm in order to conduct exit polling. There is no law or regulation
  18    requiring any exit polling to be standardized, reliable, or to serve any purpose, much less
  19    a legitimate one—only that it not serve an expressly illegitimate one. Therefore, it is not
  20    for the Court to decide whether or not resultant information may be of use. Instead, the
  21    Court must determine whether or not such activity, be it called “exit polling” or anything
  22    else, violates voters’ rights.
  23           At base, Stop the Steal is not prohibited from conducting exit polling, so long as it
  24    does so in accordance with all applicable laws and regulations. See Daily Herald Co. v.
  25    Munro, 838 F.2d 380, 390 n.8 (9th Cir. 1988) (upholding District Court’s finding that
  26    exit polling did not interfere with citizens’ right to vote without showing that polling was
  27    disruptive, intended to interfere with any voter’s rights, or that someone did not vote or
  28    voted differently due to polling). Unscientific, targeted, unreliable, and even useless exit


                                                      - 19 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.193 Filed 11/07/16 Page 55 of 65



   1    polling, by itself, does not violate any voters’ rights. Without a demonstration that Stop
   2    the Steal’s planned exit polling is likely to intimidate, the Court may not enjoin it from
   3    conducting its polling. Plaintiff has failed to proffer any evidence that any voter is likely
   4    to be intimidated, threatened, or coerced due to the polling. Instead, Plaintiff offers
   5    conclusory statements based only on the purported motivation of Stop the Steal and its
   6    members. If Stop the Steal does intend to conduct its polling only at Democratic-leaning
   7    or majority-minority districts, its actions are facially suspicious. And neither Stop the
   8    Steal nor Mr. Stone have offered legitimate reasons for conducting polling in those
   9    targeted locations. But Plaintiff does not offer the vital evidentiary components that
  10    would allow the Court to infer likely or intended intimidation: precisely what Stop the
  11    Steal plans to do, where it plans to do it, how such conduct will intimidate voters, or even
  12    if the exit polling will ultimately occur. (Mellman Report and Decl. at 1.) The factually
  13    unsubstantiated, though informed, opinion of Plaintiff’s expert does not obviate the need
  14    for further evidence of either Stop the Steal’s alleged stratagem to intimidate non-white
  15    voters, or indeed any evidence of what Stop the Steal will do at the polls. Without such
  16    evidence, the Court cannot evaluate whether Stop the Steal’s activities might constitute
  17    intimidation or not.
  18           Plaintiff has also produced evidence that Stop the Steal and Mr. Stone recruited
  19    and mobilized groups of volunteers known as “vote protectors,” who are encouraged to
  20    identify themselves as reporting for vote protectors, approach voters at the polls, and
  21    inquire about election fraud. (Gonski Decl. at Ex. 23; http://stopthesteal.org.) Plaintiff
  22    also alleges that Mr. Stone is using social media to urge potential uncredentialed
  23    observers to wear red shirts on Election Day. (Compl. ¶ 35.) However, there is no
  24    prohibition regarding the clothing of uncredentialed observers at polling locations, nor
  25    has Plaintiff provided any legal precedent holding that such activity is unconstitutional,
  26    likely to intimidate voters, or will otherwise hinder voter participation. Neither the
  27    encouragement of the activities alleged, nor the activities themselves are per se
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Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.194 Filed 11/07/16 Page 56 of 65



   1    prohibited. It is Plaintiff’s burden to illustrate that these activities are likely to intimidate,
   2    threaten, or coerce voters. The evidence educed has failed to do so.
   3                   2.      Likelihood of Irreparable Harm
   4           While a large portion of ARP and the Trump Campaign’s brief focuses on what is
   5    purportedly the second part of the four-factor test (GOP Resp. at 4-7), they instead
   6    articulate that there is no evidence that the alleged harms have occurred or are likely to
   7    occur. This argument is properly placed in the first part of the four-factor test—likelihood
   8    of success on the merits. In analyzing the irreparable harm factor, the Court does not
   9    assess the likelihood that such harm will occur, but, if such harm does occur, whether it
  10    will be irreparable.
  11           In doing so, it is clear that abridgement of the right to vote constitutes irreparable
  12    injury. Reynolds v. Sims, 377 U.S. 533, 562 (the right to vote is “a fundamental political
  13    right, because [it] is preservative of all rights”); Melendres v. Arpaio, 695 F.3d 990, 1002
  14    (9th Cir. 2012) (“It is well established that the deprivation of constitutional rights
  15    ‘unquestionably constitutes irreparable injury.’”) (quoting Elrod v. Burns, 427 U.S. 347,
  16    373 (1976)); Cardona v. Oakland Unified Sch. Dist., California, 785 F. Supp. 837, 840
  17    (N.D. Cal. 1992) (“Abridgement or dilution of a right so fundamental as the right to vote
  18    constitutes irreparable injury.”); see also Obama for Am. v. Husted, 697 F.3d 423, 436
  19    (6th Cir. 2012) (“A restriction on the fundamental right to vote . . . constitutes irreparable
  20    injury.”) (internal citation omitted). Consequently, if potential members of the electorate
  21    suffer intimidation, threatening conduct, or coercion such that their right to vote freely is
  22    abridged, or altogether extinguished, Plaintiff would be irreparably harmed. Further, if
  23    some potential voters are improperly dissuaded from exercising their franchise, it is
  24    unlikely those voters can be identified, their votes cannot be recast, and no amount of
  25    traditional remedies such as money damages would suffice after the fact. This factor
  26    weighs in favor of a preliminary injunction.
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                                                      - 21 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.195 Filed 11/07/16 Page 57 of 65



   1                  3.     Balance of Equities and the Public Interest
   2           Because Plaintiff brings this action not only on behalf of the Arizona Democratic
   3    Party, but also unidentified potential voters (see, e.g., Mot. at 15-16), and ARP and the
   4    Trump Campaign purport to oppose the injunction due to its effect on unknown third-
   5    parties (GOP Resp. at 7-10), the Court will collapse the final two factors into a single
   6    category. See Arizona Dream Act Coal. v. Brewer, 818 F.3d 901, 920 (9th Cir. 2016)
   7    (analyzing both public interest and equities factors simultaneously); Minard Run Oil Co.
   8    v. U.S. Forest Serv., 670 F.3d 236, 256 (3d Cir. 2011) (“we consider together the final
   9    two elements of the preliminary injunction framework—the public interest and the
  10    balance of the equities”); Merced v. Spano, No. 16CV3054 (SJ) (SMG), 2016 WL
  11    3906646, at *2 (E.D.N.Y. July 14, 2016) (“The remaining elements (irreparable harm,
  12    balance of the equities and public interest) will be discussed together because in this
  13    instance, they are intertwined.”). Analyzing factors three and four in unison, the Court
  14    must balance both Plaintiff’s and the public’s interest in protecting voters from undue
  15    influence, intimidation, or coercion, against Defendants’ poll observing rights and right to
  16    free speech under the First Amendment.
  17           As stated, the right to vote is a fundamental one, Reynolds, 377 at 562, the
  18    preservation of which is compelling. See, e.g., Burson v. Freeman, 504 U.S. 191 (1992).
  19    Indeed, “[n]o right is more precious in a free country than that of having a voice in the
  20    election of those who make the laws under which, as good citizens, we must live.”
  21    Wesberry v. Sanders¸ 376 U.S. 1, 17 (1964); see also Sw. Voter Registration Educ.
  22    Project v. Shelley, 344 F.3d 914, 918 (9th Cir. 2003) (“There is no doubt that the right to
  23    vote is fundamental . . .”). The Supreme Court has consistently held that the states, too,
  24    have a compelling interest in maintaining the integrity of the voting place and preventing
  25    voter intimidation and confusion. Burson v. Freeman, 504 U.S. 191, 198 (1992); Eu v.
  26    San Francisco Cnty. Democratic Cent. Comm., 489 U.S. 214, 229 (1989); Anderson v.
  27    Celebrezze, 460 U.S. 780 (1983). Accordingly, both Plaintiff and the public have a strong
  28    interest in allowing every registered voter to do so freely.


                                                    - 22 -
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.196 Filed 11/07/16 Page 58 of 65



   1           On the other hand, the Court acknowledges that Plaintiff’s injunction, as
   2    requested, raises First Amendment concerns. Just as the right to vote is a fundamental
   3    one, so too is the right to political speech and the right to associate. See, e.g., Mills v.
   4    Alabama, 384 U.S. 214, 218-19 (1966) (“there is practically universal agreement that a
   5    major purpose of [the First] Amendment was to protect the free discussion of
   6    governmental affairs . . . [including] discussions of candidates, structures and forms of
   7    government, the manner in which government is operated or should be operated, and all
   8    such matters relating to political processes”); Lerman v. Bd. of Elections in City of New
   9    York, 232 F.3d 135, 146 (2d Cir. 2000) (“The right to political association also is at the
  10    core of the First Amendment, and even practices that only potentially threaten political
  11    association are highly suspect.”) (internal quotation and citation omitted). While the
  12    Court may only enjoin Defendants and their co-conspirators, if any, the injunction may
  13    nonetheless have a chilling effect on protected First Amendment speech by others.
  14    Indeed, Plaintiff has not provided the Court with a narrowly tailored injunction that
  15    would not unintentionally sweep within its ambit other activities that constitute exercise
  16    of freedom of speech. See, e.g.¸ Rodriguez v. Robbins, 715 F.3d 1127, 1133 (9th Cir.
  17    2013) (“An overbroad injunction is an abuse of discretion.”); Union Pac. R. Co. v.
  18    Mower, 219 F.3d 1069, 1077 (9th Cir. 2000) (“one basic principle built into Rule 65 is
  19    that those against whom an injunction is issued should receive fair and precisely drawn
  20    notice of what the injunction actually prohibits”) (quoting Granny Goose Foods, Inc. v.
  21    Brotherhood of Teamsters, 415 U.S. 423, 444 (1974)); Waldman Pub. Corp. v. Landoll,
  22    Inc., 43 F.3d 775, 785 (2d Cir. 1994) (“an injunction should not impose unnecessary
  23    burdens on lawful activity”).
  24           The Court also acknowledges that Plaintiff’s requested injunction may further
  25    impinge on state-created rights or freedoms regarding poll observation. However, the
  26    injunction issued, if any, would only instruct both credentialed poll watchers and
  27    uncredentialed observers alike to follow the law as prescribed, and for any training given
  28    to credentialed poll watchers to similarly guide its trainees. Further, poll watching is not a


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Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.197 Filed 11/07/16 Page 59 of 65



   1    fundamental right that enjoys distinct First Amendment protection and it does not carry
   2    the same implications as the preceding rights. See, e.g., Cotz v. Mastroeni, 476 F. Supp.
   3    2d 332, 364 (S.D.N.Y. 2007) (“poll watching is not incidental to this right and has no
   4    distinct First Amendment protection”); Turner v. Cooper, 583 F. Supp. 1160, 1161–62
   5    (N.D. Ill. 1983) (holding that the act of poll watching is not protected by the First
   6    Amendment). Ultimately, each side implicates vital rights central to our system of
   7    government. Because the right to vote is sacrosanct and preservative of all other rights,
   8    the hardship balance and public interest factors weigh slightly in favor of granting
   9    Plaintiff’s Motion.
  10    II.    CONCLUSION
  11           The Court finds that Defendant Mr. Stone has sufficient contacts with Arizona and
  12    that Plaintiff’s claims arise from those contacts, such that the Court has jurisdiction over
  13    Mr. Stone in this matter. The Court also finds that Plaintiff has not demonstrated it is
  14    likely to succeed in showing the statements and actions of Defendants to-date constitute
  15    intimidation, threat, coercion or force against voters for voting or attempting to vote in
  16    violation of the Voting Rights Act and/or the Ku Klux Klan Act. Moreover, Plaintiff has
  17    not shown the likelihood of a conspiracy as required for its Ku Klux Klan Act claim.
  18    Plaintiff is thus not likely to succeed on the merits for either of its claims against
  19    Defendants. Although Plaintiff has demonstrated (1) a likelihood of irreparable injury if
  20    Defendants violate the Voting Rights Act and/or the Ku Klux Klan Act prior to or on
  21    Election Day; (2) that the balance of equities tips slightly in its favor; and (3) that, in such
  22    an instance, an injunction would be in the public interest, the Court must deny Plaintiff’s
  23    request for injunctive relief before Election Day based on the record before the Court.
  24    The parties may continue to raise issues to this Court through Election Day if they
  25    receive additional, material evidence.
  26           IT IS THEREFORE ORDERED denying Plaintiff’s Motion for Temporary
  27    Restraining Order and/or Preliminary Injunction (Doc. 10).
  28


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Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.198 Filed 11/07/16 Page 60 of 65



   1           IT IS FURTHER ORDERED denying as moot Defendant Roger J. Stone, Jr.’s
   2    oral motion to dismiss for lack of service and denying his oral motion to dismiss for lack
   3    of jurisdiction (see Doc. 24; Doc. 25, Tr. at 43).
   4           Dated this 4th day of November, 2016.
   5
   6
                                              Honorable John J. Tuchi
   7                                          United States District Judge
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Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.199 Filed 11/07/16 Page 61 of 65




                                Exhibit F
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.200 Filed 11/07/16 Page 62 of 65




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

   NORTH CAROLINA DEMOCRATIC                    )
   PARTY,                                       )
                                                )
                         Plaintiff,             )
                                                )
                 v.                             )                 1:16-CV-1288
                                                )
   NORTH CAROLINA REPUBLICAN                    )
   PARTY, DONALD J. TRUMP FOR                   )
   PRESIDENT, INC., ROGER J.                    )
   STONE, JR., and STOP THE STEAL               )
   INC.,                                        )
                                                )
                         Defendants.            )

                                           ORDER

         This matter is before the Court on a motion for temporary restraining order and/or

  preliminary injunction filed by the plaintiff North Carolina Democratic Party. (Doc. 4).

  The plaintiff contends that the defendants are acting in concert to disrupt the upcoming

  election by intimidating voters in violation of the Voting Rights Act and the Ku Klux

  Klan Act of 1871. The plaintiff seeks injunctive relief prohibiting the defendants from

  encouraging individuals to serve as unofficial poll watchers, from monitoring polling

  places, from gathering or loitering within 50 feet of a polling place, and from

  photographing or otherwise intimidating voters.

         A preliminary injunction is “an extraordinary remedy that may only be awarded

  upon a clear showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def.

  Council, Inc., 555 U.S. 7, 22 (2008). To prevail in the preliminary injunction motion, the

  plaintiff must demonstrate that (1) it is likely to succeed on the merits; (2) it will likely




        Case 1:16-cv-01288-CCE-JEP Document 30 Filed 11/07/16 Page 1 of 4
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.201 Filed 11/07/16 Page 63 of 65




  suffer irreparable harm absent an injunction; (3) the balance of equities weighs in its

  favor; and (4) the injunction is in the public interest. Id. at 20.

         Tomorrow, November 8, 2016, is Election Day, when voting will take place in

  North Carolina for the president, a United States senator, the governor, and numerous

  other public officials. The plaintiff has presented evidence that the defendants are each

  organizing or encouraging volunteers to go to polling locations in North Carolina for the

  ostensible purposes of identifying and stopping voting fraud and conducting exit polling.

  The plaintiff has presented evidence from which it asks the Court to infer that the real

  purpose and effect of these volunteer activities will be to intimidate minority voters.

         While the statements of the defendant Roger Stone, the defendants’ presidential

  nominee, and the nominee’s surrogates, taken in context, may be susceptible to the

  interpretation that Mr. Stone and the Trump campaign are encouraging their supporters to

  intimidate voters, there is little evidence that supporters are acting on these indirect

  suggestions. There have been only a handful of hearsay reports that purported supporters

  of the defendants’ presidential nominee may have threatened or intimidated voters in

  North Carolina during several weeks of early voting. The only evidence that the plaintiff

  has presented as to North Carolina are statements to news media by Mr. Stone that

  volunteers will conduct exit polling in Charlotte and Fayetteville, (Doc. 6-5 at 1); a report

  on a social media website that two supporters of the defendants’ presidential nominee

  were seen near the Board of Elections office in Lee County with a baseball bat

  emblazoned with the nominee’s name, (Doc. 6-30); and a handful of hearsay reports from

  a few counties that individuals purporting to be supporters of the defendants’ presidential

                                                 2



        Case 1:16-cv-01288-CCE-JEP Document 30 Filed 11/07/16 Page 2 of 4
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.202 Filed 11/07/16 Page 64 of 65




  nominee have harassed voters at early voting polling places. (Doc. 8 at ¶¶ 3-9). The Lee

  County incident has been explained under oath and does not appear to have been

  intimidating conduct. (Doc. 11-1). The only evidence that any of this conduct has

  intimidated a voter or suppressed the vote is a hearsay report that one voter in Wake

  County left a polling place without voting in order to avoid persons telling voters waiting

  in line to vote for the defendants’ nominee “or else.” (Doc. 8 at ¶ 4). While there are

  additional reports nationwide, the evidence of such troubling “outlier statements” in other

  states is not particularly indicative that intimidation will occur in North Carolina. See

  Ariz. Democratic Party v. Ariz. Republican Party, No. 2:16-CV-3752, slip op. at 17 n.9

  (D. Ariz. Nov. 4, 2016) (order denying preliminary injunction).

         Even if all this evidence is credited, it is insufficient to establish a likelihood of

  success on the merits of the plaintiff’s claims of a conspiracy by the defendants to train

  and encourage volunteers to intimidate voters in North Carolina. Nor is it sufficient to

  establish the degree of irreparable harm required to obtain the broad injunctive relief the

  plaintiff seeks.

         Moreover, these statements by the nominee and others are also susceptible to the

  interpretation that these defendants are encouraging their supporters to report potential

  voter fraud. There is nothing inherently intimidating about persons observing spaces

  outside polling places and reporting possible fraud to appropriate officials or to a hotline

  in a peaceful, non-threatening, and non-disruptive manner. Supporters of particular

  candidates have long been allowed to encourage persons coming to the polls to vote a

  particular way, subject to reasonable space restrictions applicable to all. Trust and

                                                 3



        Case 1:16-cv-01288-CCE-JEP Document 30 Filed 11/07/16 Page 3 of 4
Case 2:16-cv-13924-MAG-RSW ECF No. 14-1, PageID.203 Filed 11/07/16 Page 65 of 65




  confidence in election results is important, and restricting persons supporting one

  candidate or party from access to spaces near polling sites when there is not substantial

  evidence that the persons will act to or have been trained or encouraged to intimidate

  voters is not conducive to such trust and confidence and raises significant First

  Amendment concerns. Intimidation of voters, intentional or otherwise, is already against

  the law, and persons violating those laws are already subject to criminal prosecution and

  civil damages.

         That said, voters are entitled to cast their ballots without fear of reprisal or threat

  of physical harm. See 52 U.S.C. § 10307(b) (making it illegal for any person, “whether

  acting under color of law or otherwise,” to “intimidate, threaten, or coerce . . . any person

  for voting”); 42 U.S.C. § 1985(3). On Election Day, if it becomes apparent that agents of

  any defendant or supporters encouraged by any defendant are making an effort to

  intimidate minority voters or to further incite intimidation of voters, the plaintiff may

  renew the motion.

         It is ORDERED that the plaintiff’s motion for a temporary restraining order

  and/or preliminary injunction, (Doc. 4), is DENIED, without prejudice should

  circumstances change.

        This the 7th day of November, 2016.



                                              __________________________________
                                               UNITED STATES DISTRICT JUDGE




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        Case 1:16-cv-01288-CCE-JEP Document 30 Filed 11/07/16 Page 4 of 4
